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                        EXHIBIT “A”
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     •AIA Document A104' - 2017
     Standard Abbreviated Form of Agreement Between Owner and Contractor

     AGREEMENT made as of the 23rd day of October in the year 2020
     (In words, indicate day, month and year.)

     BETWEEN the Owner:                                                                                                   ADDITIONS AND DELETIONS:
     (Name, legal status, address and other information)                                                                   The author of this document has
                                                                                                                           added information needed for its
    East Third Media, LLC                                                                                                 completion. The author may also
    P.O. Box 1908                                                                                                         have revised the text of the original
    Media, PA 19063                                                                                                       AIA standard form. An Additions and
                                                                                                                          Deletions Report that notes added
    (610)566-0270
                                                                                                                          information as well as revisions to the
                                                                                                                          standard form text is available from
    and the Contractor:
                                                                                                                          the author and should be reviewed. A
    (Name, legal status, address and other information)
                                                                                                                          vertical line in the left margin of this
                                                                                                                          document indicates where the author
    Scungio Borst Associates Construction Management                                                                      has added necessary information
    One Port Center, 2 Riverside Drive, Suite 500                                                                         and where the author has added to or
    Camden, NJ 08103                                                                                                      deleted from the original AIA text.
    (856)757-0100
                                                                                                                          This document has important legal
   for the following Project:                                                                                             consequences. Consultation with an
                                                                                                                          attorney is encouraged with respect
   (Name, location and detailed description)
                                                                                                                          to its completion or modification.

   Wright Partners Headquarters
   30 East 3rd Street
   Media, PA 19063
   Construction of Office Building for Wright Partners new headquarters


   The Architect:
   (Name, legal status, address and other information)

  Bohl in Cy winski Jackson
  1100 Ludlow Street
  Suite 600
  Philadelphia, PA 19107
  215.790.5900

  The Owner and Contractor agree as follows.




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               TABLE OF ARTICLES

               1            THE WORK OF THIS CONTRACT

            2               DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION

            3               CONTRACT SUM

            4               PAYMENT

            5               DISPUTE RESOLUTION

            6               ENUMERATION OF CONTRACT DOCUMENTS

            7               GENERAL PROVISIONS

            8              OWNER

           9               CONTRACTOR

           10              ARCHITECT

           11              SUBCONTRACTORS

           12              CONSTRUCTION BY OWNER OR BY SEPARATE CONTRACTORS

           13            CHANGES IN THE WORK

           14            TIME

           15            PAYMENTS AND COMPLETION

          16             PROTECTION OF PERSONS AND PROPERTY

          17             INSURANCE AND BONDS

          18             CORRECTION OF WORK

          19             MISCELLANEOUS PROVISIONS

          20             TERMINATION OF THE CONTRACT

          21             CLAIMS AND DISPUTES

          EXHIBIT A DETERMINATION OF THE COST OF THE WORK

         ARTICLE 1          THE WORK OF THIS CONTRACT
         The Contractor shall execute the Work described in the Contract Documents, except as specifically indicated in the
         Contract Documents to be the responsibility of others.

         ARTICLE 2          DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION
         § 2.1The date of commencement of the Work shall be:
         (Check one of the following boxes.)

                   [ ]          The date of this Agreement.


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                          [X]     A date set forth in a notice to proceed issued by the Owner,
                          NTP to be issued by Friday, October 23,2020

                          [ ]        Established as follows:
                                     (Insert a date or a means to determine the date ofcommencement ofthe Work.)


               If a date of commencement of the Work is not selected, then the date of commencement shall be the date of this
               Agreement.

               § 2.2                    The Contract Time shall be measured from the date of commencement.

               § 2.3                    Substantial Completion
               § 2.3.1 Subject to adjustments of the Contract Time as provided in the Contract Documents, the Contractor shall
               achieve Substantial Completion of the entire Work:
               (Check the appropriate box and complete the necessary information.)

        I                [X]        Not later than two hundred and five( 205 ) calendar days from the date of commencement of the Work.

                         [ ]         By the following date:

              § 2.3.2   Subject to adjustments of the Contract Time as provided in the Contract Documents, if portions of the Work
              are to be completed prior to Substantial Completion of the entire Work, the Contractor shall achieve Substantial
              Completion of such portions by the following dates:

                               Portion of Work                                      Substantial Completion Date

                           Building Ready for Interior Finishes                     May 21, 2021


    J


              ARTICLE 3             CONTRACT SUM
              § 3.1 The Owner shall pay the Contractor the Contract Sum in current funds for the Contractor’s performance of the
              Contract. The Contract Sum shall be one of the following:
              (Check the appropriate box.)

                     [ ]            Stipulated Sum, in accordance with Section 3.2 below

                     [     ]       Cost of the Work plus the Contractor’s Fee, in accordance with Section 3.3 below

                     [     X ] Cost of the Work plus the Contractor’s Fee with a Guaranteed Maximum Price, in accordance with
                               Section 3.4 below

             (Based on the selection above, complete Section 3.2, 3.3 or 3.4 below.)
I




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            (Paragraph deleted)




           § 3.4 Cost of the Work Plus Contractor’s Fee With a Guaranteed Maximum Price
           § 3.4.1     The Cost of the Work is as defined in Exhibit A, Determination of the Cost of the Work.

           § 3.4.2 The Contractor’s Overhead and Fee:
           (State a lump sum, percentage ofCost of the Work or other provisionfor determining the Contractor’s Overhead and
           Fee and the method ofadjustment to the Overhead and Fee for changes in the Work.)

           Four and one half percent of the Cost of the Work (4.5%)


           § 3.4.3 Guaranteed Maximum Price
           § 3.4.3.1 The sum of the Cost of the Work and the Contractor’s Fee is guaranteed by the Contractor not to exceed Two
          Million Eight Hundred Forty Seven Thousand Nine Hundred Sixteen Dollars ($ 2,847,916.00 ), subject to additions
          and deductions by changes in the Work as provided in the Contract Documents. This maximum sum is referred to in
          the Contract Documents as the Guaranteed Maximum Price. Costs which would cause the Guaranteed Maximum
          Price to be exceeded shall be paid by the Contractor without reimbursement by the Owner.

                        All Savings achieved by the Contractor will initially be used to create a Contractor’s Contingency cost
                       1.
                        line item in the budget up to $28,000.00.
                   2. The Contractor’s Contingency set forth above is for the use of the Contractor, as approved by the Owner,
                        to pay for miscellaneous work items which are required to complete the Project including: to cover trade
                        scope gaps, missed work in subcontractor or vendor purchasing, areas of damage that may occur
                        between trades during construction, overtime and premium time for schedule recovery, to address safety
                        items. Subcontractor coordination problems. Subcontractor coordination errors and other items
                        requested by the Contractor if approved by the Owner.
          The Contractor shall not use the Construction Contingency to pay for costs related to the following: errors or
          omissions in the Construction Documents; discrepancies with the Construction Documents pertaining to applicable
          building code requirements; and/or enhancements or additions to the Scope of Work requested by the Owner.

         In all instances, the Contractor shall prepare a narrative and accounting worksheet to obtain written approval from the
         Owner prior to using the Construction Contingency - such approval shall not be unreasonably withheld. If, upon Final
         Completion of the Project, funds are remaining in the Construction Contingency, such funds shall remain unspent and
         allocated to the Owner as a deductive change order reducing the Guaranteed Maximum Price.

         Savings in excess of the aforementioned value in 3.4.3.1.1 will immediately be returned to the Owner as a Owner
         Change Order reducing the Contract Value.

         § 3.4.3.2 The Guaranteed Maximum Price is based on the following alternates,                           if any, which are described in the
         Contract Documents and are hereby accepted by the Owner:

         See attached Exhibit "D" - Contract Alternates
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            § 3.4.3.3     Unit Prices, if any:
            (Identify the item and state the unit price and the quantity limitations, ifany, to v/hich the unit price yvill be
            applicable.)

                       Item                                                     Units and Limitations               Price per Unit ($0.00)
                       New Cambrian Black Granite Veneer                                                            $ 42.07 per SF

            § 3.4.3.4 Allowances, if any, included in the Guaranteed Maximum Price;
            (Identify each allowance.)

                       Item                                                    Price
                       Light Integrated Mirrors in Bathrooms                   $ 4,500.00

                       New Cambrian Black Granite Stone                        $ 146,433.00
                       Veneer

           § 3.4.3.5        Assumptions, if any, on which the Guaranteed Maximum Price is based:

           See attached Exhibit "C" - Clarifications and Exclusions

           § 3.4.3.6 To the extent that the Contract Documents are anticipated to require further development, the Guaranteed
           Maximum Price includes the costs attributable to such further development consistent with the Contract Documents
           and reasonably inferable therefrom. Such further development does not include changes in scope, systems, kinds and
           quality of materials, finishes or equipment, all of which, if required, shall be incorporated by Change Order.


          § 3.4.3.7 The Owner shall authorize preparation of revisions to the Contract Documents that incorporate the
          agreed-upon assumptions contained in Section 3.4.3.5. The Owner shall promptly furnish such revised Contract
          Documents to the Contractor. The Contractor shall notify the Owner and Architect of any inconsistencies between the
          agreed-upon assumptions contained in Section 3.4.3.5 and the revised Contract Documents.


          § 3.5 Liquidated damages, if any:
          (Insert terms and conditions for liquidated damages, if any.)

          None

          ARTICLE 4 PAYMENT
          § 4.1 Progress Payments
          § 4.1.1 Based upon Applications for Payment and partial lien releases for Contractor, all subcontractors,
          sub-subcontractors and material suppliers submitted to the Owner by the Contractor and draw request submitted by the
          Owner, Owner shall make progress payments on account of the Contract Sum to the Contractor as provided below and
          elsewhere in the Contract Documents.

         § 4.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
         month,:

         § 4.1.3 Provided that an Application for Payment is received by the Owner not later than the 1st day of a month, the
         Owner shall make payment of the certified amount to the Contractor not later than the last day of the same month
         subject to Contractor submitting required partial lien releases for prior payment and Owner approval of requested
         percent complete progress payments, which shall not be reasonably withheld. If an Application for Payment is
         received by the Owner after the date fixed above or revisions to initial Application for Payment submission are
         necessary and provided to Owner in a timely fashion, payment shall be made by the Owner not later than forty five (45
         ) days after the Owner receives the Application for Payment.



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        § 4.1.4  For each progress payment made prior to Substantial Completion of the Work, the Owner will withhold
        retainage from the payment otherwise due as follows:

       (Paragraph deleted)
       Retainage amounting to ten percent (10%) ofthe value of each subcontractor’s work included in each progress
       payment until Substantial Completion. At the first Application for Payment submitted after Substantial Completion
       (as defined in section 15.6.3), retainage shall be reduced to five percent (5%) for all subcontractors and vendors.

       No retainage will be held against Contractor’s General Conditions, Staffing, Insurance, Taxes, Overhead and Fee


       § 4.1.5   Payments due and unpaid under the Contract shall bear interest from the date payment is due at the rate stated
       below, or in the absence thereof, at the legal rate prevailing from time to time at the place where the Project is located.
       (Insert rate of interest agreed upon, ifany.)

I      6.00% per annum

       § 4.2 Final Payment
      § 4.2.1   Final payment, constituting the entire unpaid balance of the Contract Sum, shall be made by the Owner to the
       Contractor when Owner has deteimined that the Work has been completed and accepted by Owner
                .1    the Contractor has fully performed the Contract except for the Contractor’s responsibility to correct
                      Work as provided in Section 18.2, and to satisfy other requirements, if any, which extend beyond final
                      payment;
                .2    the Contractor has submitted a final accounting for the Cost of the Work, Contractor having furnished
                      final lien releases to the Owner as evidence that all subcontractors, sub-subcontractors and suppliers
                      have been paid and that there are no claims, obligations or liens outstanding for labor, services,
                      materials, equipment, taxes or other items; Contractor having delivered to Owner all guarantees,
                      warranties, manuals, field records, permits, certificates, licenses, approvals and other items required by
                      the Contract Documents.
               .3     a final Certificate of Completion has been delivered to the Owner by Contractor.

      § 4.2.2  The Owner’s final payment to the Contractor shall be made no later than 30 days after the Final Payment
      conditions above have been completed.



      ARTICLE 5     DISPUTE RESOLUTION
      § 5.1 Binding Dispute Resolution
     For any claim subject to, but not resolved by, mediation pursuant to Section 21.5, the method of binding dispute
     resolution shall be as follows;
     (Check the appropriate box.)

            [XJ         Arbitration pursuant to Section 21.6 of this Agreement

            [ ]         Litigation in a court of competent jurisdiction

            [ ]         Other (Specify)



      If the Owner and Contractor do not select a method of binding dispute resolution, or do not subsequently agree in
     writing to a binding dispute resolution method other than litigation, claims will be resolved in a court of competent
     jurisdiction.

     ARTICLE 6         ENUMERATION OF CONTRACT DOCUMENTS
     § 6.1 The Contract Documents are defined in Article 7 and, except for Modifications issued after execution of this
     Agreement, are enumerated in the sections below.
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                        § 6.1.1 The Agreement is this executed AIA Document Al 04™-2017, Standard Abbreviated Form of Agreement
                        Between Owner and Contractor.




                I
                I

                       § 6.1.4              The Specifications:
                       (Either list the Specifications here or refer to an exhibit attached to this Agreement.)

            I          See attached Exhibit "B"

            I

                       § 6.1.5             The Drawings:
                       (Either list the Drawings here or refer to an exhibit attached to this Agreement.)

        I             See attached Exhibit "B"

        I

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        I

                      Portions of Addenda relating to bidding or proposal requirements are not part of the Contract Documents unless the
                      bidding or proposal requirements are enumerated in this Article 6.

                      § 6.1.7               Additional documents, if any, forming part of the Contract Documents:
                                 .1      Other Exhibits:
                                         (Check all boxes that apply.)

    I                                    [X]        Exhibit A, Determination of the Cost of the Work.




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                        .2    Other documents, if any, listed below:
                        (List here any additional documents that are intended to form part of the Contract Documents.)
                              Exhibit "C"           Scope Clarifications and Exclusions
                              Exhibit "D"          Contract Alternates - Additions and Deductions
                              Exhibit "E"          Contractor’s Planned Schedule and Sequence of Work

            ARTICL E 7   GENERAL PROVISIONS
            § 7.1 The Contract Documents
           The Contract Documents are enumerated in Article 6 and consist of this Agreement (including, if applicable,
           Supplementaiy and other Conditions of the Contract), Drawings, Specifications, Addenda issued prior to the
           execution of this Agreement, other documents listed in this Agreement, and Modifications issued after execution of
           this Agreement. A Modification is (1) a written amendment to the Contract signed by both parties, (2) a Change Order,
           (3) a Construction Change Directive, or (4) a written order for a minor change in the Work issued by the Owner. The
           intent of the Contract Documents is to include all items necessary for the proper execution and completion of the Work
           by the Contractor. The Contract Documents are complementary, and what is required by one shall be as binding as if
           required by all; performance by the Contractor shall be required to the extent consistent with the Contract Documents
           and reasonably inferable from them as being necessary to produce the indicated results.

           § 7.2     The Contract
           The Contract Documents form the Contract for Construction. The Contract represents the entire and integrated
           agreement between the parties hereto and supersedes prior negotiations, representations, or agreements, either written
           or oral. The Contract may be amended or modified only by a Modification. The Contract Documents shall not be
           construed to create a contractual relationship of any kind between any persons or entities other than the Owner and the
           Contractor.

           § 7.3     The Work
          The term "Work" means the construction and services required by the Contract Documents, whether completed or
          partially completed, and includes all other labor, materials, equipment, and services provided or to be provided by the
          Contractor to fulfill the Contractor’s obligations. The Work may constitute the whole or a part of the Project.

          § 7.4     Instruments of Service
          Instruments of Service are representations, in any medium of expression now known or later developed, of the tangible
          and intangible creative work performed by the Architect and the Architect’s consultants under their respective
          professional services agreements. Instruments of Service may include, without limitation, studies, surveys, models,
          sketches, drawings, specifications, and other similar materials.

          § 7.5     Ownership and use of Drawings, Specifications and Other Instruments of Service
          § 7.5.1 The Architect   and the Architect’s consultants shall be deemed the authors and owners of their respective
         Instruments of Service, including the Drawings and Specifications, and will retain all common law, statutory and other
         reserved rights in their Instruments of Service, including copyrights. The Contractor, Subcontractors,
         Sub-subcontractors, and suppliers shall not own or claim a copyright in the Instruments of Service. Submittal or
         distribution to meet official regulatory requirements or for other purposes in connection with the Project is not to be
         construed as publication in derogation of the Architect’s or Architect’s consultants’ reserved rights.

         § 7.5.2  The Contractor, Subcontractors, Sub-subcontractors and suppliers are authorized to use and reproduce the
         Instruments of Service provided to them, subject to the protocols established pursuant to Sections 7.6 and 7.7, solely
         and exclusively for execution of the Work. All copies made under this authorization shall bear the copyright notice, if
         any, shown on the Instruments of Service. The Contractor, Subcontractors, Sub-subcontractors, and suppliers may not
         use the Instruments of Service on other projects or for additions to this Project outside the scope of the Work without
         the specific written consent of the Owner, Architect and the Architect’s consultants.

         § 7.6     Digital Data Use and Transmission
         The parties shall agree upon protocols governing the transmission and use of Instruments of Service or any other
         information or documentation in digital form.
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    I       (Paragraphs deleted)
            § 7.8                Severability
            The invalidity of any provision of the Contract Documents shall not invalidate the Contract or its remaining
            provisions. If it is determined that any provision of the Contract Documents violates any law, or is otherwise invalid or
            unenforceable, then that provision shall be revised to the extent necessary to make that provision legal and
            enforceable. In such case the Contract Documents shall be construed, to the fullest extent permitted by law, to give
            effect to the parties’ intentions and purposes in executing the Contract.

            § 7.9                Notice
            § 7.9.1 Except as otherwise provided in Section 7.9.2, where the Contract Documents       require one party to notify or
            give notice to the other party, such notice shall be provided in writing to the designated representative of the party to
            whom the notice is addressed and shall be deemed to have been duly served if delivered in person, by mail, by courier,
            by certified or registered mail providing proof of delivery or by electronic transmission


I

I          (Paragraph deleted)
           § 7.10               Relationship of the Parties
          Where the Contract is based on the Cost of the Work plus the Contractor’s Fee, with or without a Guaranteed
          Maximum Price, the Contractor accepts the relationship of trust and confidence established by this Agreement and
          covenants with the Owner to cooperate with the Architect and exercise the Contractor’s skill and judgment in
          furthering the interests of the Owner; to furnish efficient business administration and supervision; to furnish at all
          times an adequate supply of workers and materials; and to perform the Work in an expeditious and economical manner
          consistent with the Owner’s interests. The Owner agrees to furnish and approve, in a timely manner, information
          required by the Contractor and to make payments to the Contractor in accordance with the requirements of the
          Contract Documents.

          ARTICLE 8          OWNER
          § 8.1              Information and Services Required of the Owner
          § 8.1.1 Prior to commencement of the Work, at the written request by the Contractor, the Owner shall furnish to the
          Contractor reasonable evidence that the Owner has made financial arrangements to fulfill the Owner’s obligations
          under the Contract. The Contractor shall have no obligation to commence the Work until the Owner provides such
          evidence. If commencement of the Work is delayed under this Section 8.1.1, the Contract Time shall be extended
          appropriately.

          § 8.1.2              The Owner shall furnish all necessary surveys and a legal description of the site upon request of the Contractor.

          § 8.1.3 The  Contractor shall be entitled to rely on the accuracy of information furnished by the Owner but shall
          exercise proper precautions relating to the safe performance of the Work.

         § 8.1.4 Except for permits and fees that are the responsibility of the Contractor under the Contract Documents,
         including those required under Section 9.6.1, the Owner shall secure and pay for other necessary approvals,
         easements, assessments, and charges required for the construction, use, or occupancy of permanent structures or for
         permanent changes in existing facilities.

         § 8.2             Owner’s Right to Stop the Work
         If the Contractor fails to correct Work which is not in accordance with the requirements of the Contract Documents, or
         repeatedly fails to carry out the Work in accordance with the Contract Documents, the Owner may issue a written
         order to the Contractor to stop the Work, or any portion thereof, until the cause for such order is eliminated; however.


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            the right of the Owner to stop the Work shall not give rise to a duty on the part of the Owner to exercise this right for
            the benefit of the Contractor or any other person or entity.

            § 8,3 Owner’s Right to Carry Out the Work
            If the Contractor defaults or neglects to carry out the Work in accordance with the Contract Documents, and fails
            within a ten-day period after receipt of notice from the Owner to commence and continue correction of such default or
            neglect with diligence and promptness, the Owner may, without prejudice to any other remedies the Owner may have,
            correct such default or neglect. Such action by the Owner and amounts charged to the Contractor are both subject to
            prior approval of the Architect and the Architect may, pursuant to Section 15.4.3, withhold or nullify a Certificate for
            Payment in whole or in part, to the extent reasonably necessary to reimburse the Owner for the reasonable cost of
            correcting such deficiencies, including the Owner’s expenses and compensation for the Architect’s additional services
            made necessary by such default, neglect, or failure. If the Contractor disagrees with the actions of the Owner or the
            Architect, or the amounts claimed as costs to the Owner, the Contractor may file a Claim pursuant to Article 21.

           The Contractor has not included all of the costs and work scope to achieve Final Completion. The Owner intends to
           engage other contractors and/or subcontractors to perform specific activities that are necessary to achieve Final
           Completion including Painting, Millwork Supply and Installation, furnishing and installation of finished exterior
           decking, supply and installation of Site Amenities and Landscaping after Contractor’s Substantial Completion. To the
           extent that Owner’s completion of the Work will delay Final Acceptance of the entirety of the Work; Contractor’s
           Final Payment shall not be withheld or delayed.


           ARTICLE 9    CONTRACTOR
           § 9.1 Review of Contract Documents and Field Conditions by Contractor
           § 9.1.1 Execution of the Contract by the Contractor is a representation that the Contractor has visited the site, become
           generally familiar with local conditions under which the Work is to be performed and correlated personal observations
           with requirements of the Contract Documents.

           § 9.1.2 Because the   Contract Documents are complementary, the Contractor shall, before starting each portion of the
           Work, carefully study and compare the various Contract Documents relative to that portion of the Work, as well as the
          information furnished by the Owner pursuant to Section 8.1.2, shall take field measurements of any existing
          conditions related to that portion ofthe Work and shall observe any conditions at the site affecting it. These obligations
          are for the purpose of facilitating coordination and construction by the Contractor and are not for the purpose of
          discovering errors, omissions, or inconsistencies in the Contract Documents; however, the Contractor shall promptly
          report to the Architect any errors, inconsistencies, or omissions discovered by or made known to the Contractor as a
          request for information in such form as the Architect may require. It is recognized that the Contractor’s review is made
          in the Contractor’s capacity as a contractor and not as a licensed design professional unless otherwise specifically
          provided in the Contract Documents.

          § 9,1. 3 The Contractor is  not required to ascertain that the Contract Documents are in accordance with applicable laws,
          statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities, but the Contractor shall
          promptly report to the Architect any nonconformity discovered by or made known to the Contractor as a request for
          information in such form as the Architect may require.

          § 9.2 Supervision and Construction Procedures
         § 9.2.1 The Contractor shall supervise and direct the Work, using the Contractor’s best skill and attention. The
         Contractor shall be solely responsible for and have control over construction means, methods, techniques, sequences,
         and procedures, and for coordinating all portions of the Work under the Contract, unless the Contract Documents give
         other specific instructions concerning these matters.

         § 9.2.2 The Contractor shall be responsible to the Owner for acts and omissions of the Contractor’s employees.
         Subcontractors and their agents and employees, and other persons or entities performing portions of the Work for or
         on behalf of the Contractor or any of its Subcontractors.

         § 9.3 Labor and Materials
         § 9.3.1 Unless otherwise provided in the Contract Documents, the Contractor shall provide and pay for labor,
         materials, equipment, tools, construction equipment and machinery, transportation, and other facilities and services
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    necessaiy for proper execution and completion of the Work whether temporary or permanent and whether or not
    incorporated or to be incorporated in the Work.

    § 9.3.2  The Contractor shall enforce strict discipline and good order among the Contractor’s employees and other
    persons carrying out the Work. The Contractor shall not permit employment of unfit persons or persons not skilled in
    tasks assigned to them.

    § 9.3.3 The Contractor may make a substitution only with the consent of the Owner, in accordance with a
    Modification.

    § 9.4 Warranty
    The Contractor warrants to the Owner and Architect that materials and equipment furnished under the Contract will be
    of good quality and new unless the Contract Documents require or permit otherwise. The Contractor further warrants
   that the Work will conform to the requirements of the Contract Documents and will be free from defects, except for
   those inherent in the quality of the Work the Contract Documents require or permit for a period of one year from the
   Date of Substantial Completion. Work, materials, or equipment not conforming to these requirements may be
   considered defective. The Contractor’s warranty excludes remedy for damage or defect caused by abuse, alterations to
   the Work not executed by the Contractor, improper or insufficient maintenance, improper operation or normal wear
   and tear under normal usage. All other warranties required by the Contract Documents shall be issued in the name of
   the Owner, or shall be transferable to the Owner, and shall commence in accordance with Section 15.6.3.

   § 9.5 Taxes
   The Contractor shall pay sales, consumer, use, and other similar taxes that are legally enacted when bids are received
   or negotiations concluded, whether or not yet effective or merely scheduled to go into effect.

   § 9.6 Permits, Fees, Notices, and Compliance with Laws
  § 9.6.1 Unless otherwise provided in the Contract Documents, the Owner shall secure and pay for the building permit
  as well as other permits, fees, licenses, and inspections by government agencies necessary for proper execution and
  completion of the Work that are customarily secured after execution of the Contract and legally required at the time
  bids are received or negotiations concluded. Contractor and subcontractors will secure and pay for all trade specific
  permits required by local jurisdiction.

  § 9.6.2 The    Contractor shall comply with and give notices required by applicable laws, statutes, ordinances, codes,
  rules and regulations, and lawful orders of public authorities applicable to performance of the Work. If the Contractor
  performs Work knowing it to be contraiy to applicable laws, statutes, ordinances, codes, rules and regulations, or
  lawful orders of public authorities, the Contractor shall assume appropriate responsibility for such Work and shall bear
  the costs attributable to correction.

  § 9.7 Allowances
  The Contractor shall include in the Contract Sum all allowances stated in the Contract Documents. The Owner shall
  select materials and equipment under allowances with reasonable promptness. Allowance amounts shall include the
  costs to the Contractor of materials and equipment delivered at the site and all required taxes, less applicable trade
  discounts. Contractor’s costs for unloading and handling at the site, labor, installation, overhead, profit, and other
  expenses contemplated for stated allowance amounts shall be included in the Contract Sum but not in the allowance.

 § 9.8 Contractor’s Construction Schedules
 § 9.8.1 The Contractor, promptly after being awarded the Contract, shall submit for the Owner’s information a
 Contractor’s construction schedule for the Work. The schedule shall not exceed time limits current under the Contract
 Documents, shall be updated with current progress at a minimum, monthly or more frequently as required by the
 conditions of the Work and Project, shall be related to the entire Project to the extent required by the Contract
 Documents, and shall provide for expeditious and practicable execution of the Work.

              1.              The following schedule dates have been established as interim contract performance milestones:
                   1.1.   Owner’s Notice to Proceed                                    10/23/2020
                   1.2.   Foundations Complete                                         12/21/2020
                   1.3.   Structural Steel Complete                                    02/11/2021
                   1.4.   Concrete Slabs Complete                                      03/04/2021
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                              1.5. Building Weathertight and Conditioned                                          04/19/2021
                              1.6. Substantial Completion                                                         05/21/2021

            § 9.8.2The Contractor shall perform the Work in general accordance with the most recent schedule submitted to the
            Owner at time of Notice to Proceed and as adjusted thereafter by contract progress and / or modification.

            § 9.9 Submittals
            § 9.9.1  The Contractor shall review for compliance with the Contract Documents and submit to the Architect Shop
           Drawings, Product Data, Samples, and similar submittals required by the Contract Documents in coordination with the
           Contractor’s construction schedule and in such sequence as to allow the Architect reasonable time for review.
           Architect shall review and take action on Contractor’s submittals within two (2) calendar weeks of receipt unless
           otherwise agreed and in the event that resubmittal is requested, take action within one (1) calendar week on any
           resubmittals. By submitting Shop Drawings, Product Data, Samples, and similar submittals, the Contractor represents
           to the Owner and Architect that the Contractor has (1) reviewed and evaluated them for general conformance with the
           Contract Documents; (2) determined and verified materials, field measurements, and field construction criteria related
           thereto, or will do so; and (3) checked and coordinated the information contained within such submittals with the
           requirements of the Work and of the Contract Documents. The Work shall be in accordance with approved submittals.

           § 9.9.2    Shop Drawings, Product Data, Samples and similar submittals are not Contract Documents.

          § 9.9.3 The Contractor shall not be required to provide professional services that constitute the practice of architecture
          or engineering unless such services are specifically required by the Contract Documents or unless the Contractor
          needs to provide such services in order to carry out the Contractor’s own responsibilities. If professional design
          services or certifications by a design professional are specifically required by the Contract Documents, the Owner and
          the Architect will specify the performance and design criteria that such services must satisfy. The Contractor shall
          cause such services or certifications to be provided by an appropriately licensed design professional. If no criteria are
          specified, the design shall comply with applicable codes and ordinances. Each Party shall be entitled to rely upon the
          Information provided by the other Party. The Architect will review and approve or take other appropriate action on
          submittals for the limited purpose of checking for conformance with information provided and the design concept
          expressed in the Contract Documents. The Architect’s review of Shop Drawings, Product Data, Samples, and similar
          submittals shall be for the limited purpose of checking for conformance with information given and the design concept
          expressed in the Contract Documents. In performing such review, the Architect will approve, or take other appropriate
          action upon, the Contractor’s Shop Drawings, Product Data, Samples, and similar submittals.

          § 9.10 Use of Site
          The Contractor shall confine operations at the site to areas permitted by applicable laws, statutes, ordinances, codes,
          rules and regulations, lawful orders of public authorities, and the Contract Documents and shall not unreasonably
          encumber the site with materials or equipment.

          § 9.11 Cutting and Patching
          The Contractor shall be responsible for cutting, fitting, or patching required to complete the Work or to make its parts
          fit together properly.

          § 9.12 Cleaning Up
         The Contractor shall keep the premises and surrounding area free from accumulation of waste materials and rubbish
         caused by operations under the Contract. At completion of the Work, the Contractor shall remove waste materials,
         rubbish, the Contractor’s tools, construction equipment, machinery, and surplus material from and about the Project.

         § 9.13 Access to Work
         The Contractor shall provide the Owner and Architect with access to the Work in preparation and progress wherever
         located.

         § 9.14 Royalties, Patents and Copyrights
         The Contractor shall pay all royalties and license fees. The Contractor shall defend suits or claims for intfingement of
         copyrights and patent rights and shall hold the Owner and Architect harmless from loss on account thereof, but shall
         not be responsible for defense or loss when a particular design, process, or product of a particular manufacturer or
         manufacturers is required by the Contract Documents or where the copyright violations are contained in Drawings,
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            Specifications or other documents prepared by the Owner or Architect. However, if an infringement of a copyright or
            patent is discovered by, or made known to, the Contractor, the Contractor shall be responsible for the loss unless the
            information is promptly furnished to the Architect.

            § 9.15                   Indemnification
           § 9.15.1 To the fullest extent permitted by law, the Contractor shall indemnify and hold harmless the Owner,
           Architect, Architect’s consultants, and agents and employees of any of them from and against claims, damages, losses
           and expenses, including but not limited to attorneys’ fees, arising out of or resulting from performance of the Work,
           provided that such claim, damage, loss, or expense is attributable to bodily injury, sickness, disease or death, or to
           injury to or destruction of tangible property (other than the Work itself), but only to the extent caused by the negligent
           acts or omissions of the Contractor, a Subcontractor, anyone directly or indirectly employed by them, or anyone for
           whose acts they may be liable, regardless of whether or not such claim, damage, loss, or expense is caused in part by a
           party indemnified hereunder. Such obligation shall not be construed to negate, abridge, or reduce other rights or
           obligations of indemnity which would otherwise exist as to a party or person described in this Section 9.15.1.

           § 9.15.2 In claims against any person or entity indemnified under this Section 9.15 by an employee of the Contractor,
           a Subcontractor, anyone directly or indirectly employed by them, or anyone for whose acts they may be liable, the
           indemnification obligation under Section 9.15.1 shall not be limited by a limitation on amount or type of damages,
           compensation or benefits payable by or for the Contractor or Subcontractor under workers’ compensation acts,
           disability benefit acts or other employee benefit acts.

           ARTICLE 10          ARCHITECT
           § 10.1                  The Owner will provide administration of the Contract as described in the Contract Documents



          (Paragraph deleted)
          § 10.3 The Owner and/or Architect will visit the site at intervals appropriate to the stage of the construction to become
          generally familiar with the progress and quality of the portion of the Work completed, and to determine in general, if
          the Work observed is being performed in a manner indicating that the Work, when fully completed, will be in
          accordance with the Contract Documents. However, the Owner and/or Architect will not be required to make
          exhaustive or continuous on-site inspections to check the quality or quantity of the Work. The Owner and/or Architect
          will not have control over, charge of, or responsibility for the construction means, methods, techniques, sequences, or
          procedures, or for safety precautions and programs in connection with the Work, since these are solely the
          Contractor’s rights and responsibilities under the Contract Documents.

         § 10.4 On the basis of the site visits, the Architect will keep the Owner reasonably informed about the progress and
         quality of the portion of the Work completed, and promptly report to the Owner and Contractor (1) known deviations
         fi-ora the Contract Documents, (2) known deviations from the most recent construction schedule submitted by the
         Contractor, and (3) defects and deficiencies observed in the Work. The Architect will not be responsible for the
         Contractor’s failure to perform the Work in accordance with the requirements of the Contract Documents. The
         Architect will not have control over or charge of and will not be responsible for acts or omissions of the Contractor,
         Subcontractors, or their agents or employees, or any other persons or entities performing portions of the Work.

         § 10.5 Based on the Owner’s evaluations of the Work and of the Contractor’s Applications for Payment, the Owner
         will review and certify the amounts due the Contractor and will issue Payment in such amounts.

         § 10.6 The Architect and Owner have the authority to reject Work that does not conform to the Contract Documents
         and to require inspection or testing of the Work.

         § 10.7 The Architect will review and approve or take other appropriate action upon, the Contractor’s submittals such
         as Shop Drawings, Product Data, and Samples, but only for the limited purpose of checking for conformance with
         information given and the design concept expressed in the Contract Documents.



I       (Paragraph deleted).
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    § 10.9 The Owner and Architect’s decisions on matters relating to aesthetic effect will be final if consistent with the
    intent expressed in the Contract Documents.

    ARTICLE 11            SUBCONTRACTORS
    § 11.1 A Subcontractor is a person or entity who has a direct contract with the Contractor to perform a portion of the
    Work at the site.

   § 11.2 Unless otherwise stated in the Contract Documents, the Contractor, as soon as practicable after award of the
   Contract, shall notify the Owner of the Subcontractors or suppliers proposed for each of the principal portions of the
   Work. The Contractor shall not contract with any Subcontractor or supplier to whom the Owner has made reasonable
   written objection within five days after receipt of the Contractor’s list of Subcontractors and suppliers. If the proposed
   but rejected Subcontractor was reasonably capable of performing the Work, the Contract Sum and Contract Time shall
   be increased or decreased by the difference, if any, occasioned by such change, and an appropriate Change Order shall
   be issued before commencement of the substitute Subcontractor’s Work. The Contractor shall not be required to
   contract with anyone to whom the Contractor has made reasonable objection.

   § 11.3 Contracts between the Contractor and Subcontractors shall (1) require each Subcontractor, to the extent of the
   Work to be performed by the Subcontractor, to be bound to the Contractor by the terms of the Contract Documents,
   and to assume toward the Contractor all the obligations and responsibilities, including the responsibility for safety of
   the Subcontractor’s Work, which the Contractor, by the Contract Documents, assumes toward the Owner and
   Architect, and (2) allow the Subcontractor the benefit of all rights, remedies and redress against the Contractor that the
   Contractor, by these Contract Documents, has against the Owner.

   ARTICLE 12            CONSTRUCTION BY OWNER OR BY SEPARATE CONTRACTORS
   § 12.1 The term "Separate Contractor(s)"    shall mean other contractors retained by the Owner under separate
   agreements. The Owner intends to perform construction or operations related to the Project with the Owner’s own
   forces, and with Separate Contractors retained under Conditions of the Contract substantially similar to those of this
   Contract, including those provisions of the Conditions of the Contract related to insurance and waiver of subrogation.

  § 12.2 The Contractor shall afford the Owner and Separate Contractors reasonable opportunity for introduction and
  storage of their materials and equipment and performance of their activities, and shall connect and coordinate the
  Contractor’s activities with theirs as required by the Contract Documents.

  ______________Work Scope______________           By Owner (Wright Partners)       By Contractor (SBA)
  Slate and Local Building Permit                             X
  Individual Trade Permits                                                                  X
  interior Wall Framing, Door Frames, Doors,
                                                                                            X
  Hardware, Drywall Board, Taping and Finishing

  Interior Painting                                            X                                             Tentative Start Mid-April, 2021
  Finish Flooring All Areas except Exterior Deck                                            X
  Supply, Install and Finish all wood trim and
                                                               X                                             Tentative Start early May, 2021
  millwork

  Landscaping and Site Amenities                                                                             Can begin after 3/31/2021 - needed for final
                                                              X
                                                                                                             township Inspection
  State and Local Final Inspections                           X
 llndividual Trade Permit Final Sign-Offs
                                                                                     _____________ X_____________


 § 12.3   The Owner shall be reimbursed by the Contractor for costs incurred by the Owner which are payable to a
 Separate Contractor because of delays, improperly timed activities, or defective construction of the Contractor. The
 Owner shall be responsible to the Contractor for costs incurred by the Contractor because of delays, improperly timed
 activities, damage to the Work, or defective construction of a Separate Contractor.

 ARTICLE 13            CHANGES IN THE WORK
 § 13.1 By appropriate Modification, changes in the Work may be accomplished after execution of the Contract. The
 Owner, without invalidating the Contract, may order changes in the Work within the general scope of the Contract
 consisting of additions, deletions, or other revisions, with the Contract Sum and Contract Time being adjusted
 accordingly. Such changes in the Work shall be authorized by written Change Order signed by the Owner and
 Contractor, or by written Change Order Requests, produced by the Contractor and signed by the Owner, stating the
 specific basis of payment to Contractor for the Change Order Request (lump sum price, unit price, time and material).
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            Upon issuance of the Change Order or Change Order Request, the Contractor shall proceed promptly with such
            changes in the Work, unless otherwise provided in the Change Order or Change Order Request. Approved Change
            Order Requests will be converted to Change Orders on a monthly basis allowing Contractor to include of all
            completed work relating to approved Change Order Requests and Change Orders into the monthly Application for
            Payment.

           § 13.2 Adjustments in the Contract Sum and Contract Time resulting from a change in the Work shall be determined
           by mutual agreement of the parties or, in the case of a Construction Change Directive signed only by the Owner, by
           the Contractor’s cost of labor, material, equipment, and reasonable overhead and profit, unless the parties agree on
           another method for determining the cost or credit. Pending final determination of the total cost of a Construction
           Change Directive, the Contractor may request partial payment for Work completed pursuant to the Construction
           Change Directive. The Owner will make an interim determination of the amount of payment due for purposes of
           certifying the Contractor’s monthly Application for Payment. When the Owner and Contractor agree on adjustments
           to the Contract Sum and Contract Time arising from a Construction Change Directive, the Contractor will prepare a
           Change Order for Owner Review and Approval. Such approval shall not be unreasonably withheld.

           § 13.3 The Owner will have authority to order minor changes in the Work not involving adjustment in the Contract
           Sum or extension of the Contract Time and not inconsistent with the intent of the Contract Documents. Such changes
           shall be effected by written order and shall be binding on the Owner and Contractor. The Contractor shall carry out
           such written orders promptly. If the Contractor believes that the proposed minor change in the Work will affect the
           Contract Sum or Contract Time, the Contractor shall notify the Owner and shall not proceed to implement the change
           in the Work.

           § 13.4 If concealed or unknown physical conditions are encountered at the site that differ materially from those
           indicated in the Contract Documents or from those conditions ordinarily found to exist, the Contract Sum and Contract
           Time shall be equitably adjusted as mutually agreed between the Owner and Contractor; provided that the Contractor
           provides notice to the Owner promptly and before conditions are disturbed.

          ARTICLE 14    TIME
          § 14.1 Time limits stated in the Contract Documents are of the essence of the Contract. By executing this Agreement
          the Contractor confirms that the Contract Time is a reasonable period for performing the Work.

          § 14.2 Unless otherwise provided, Contract Time is the period of time, including authorized adjustments, allotted in
          the Contract Documents for Substantial Completion of the Work.

          § 14.3 The term "day" as used in the Contract Documents shall mean calendar day unless otherwise specifically
          defined.

          § 14.4 The date of Substantial Completion is the date certified by the Owner in accordance with Section 15.6.3.

          § 14.5 Ifthe Contractor is delayed at any time in the commencement or progress of the Work by (1) changes ordered in
         the Work; (2) by labor disputes, fire, unusual delay in deliveries, abnormal adverse weather conditions not reasonably
         anticipatable, unavoidable casualties, or any causes beyond the Contractor’s control; or (3) by other causes that the
         Contractor asserts, and the Owner determines, justify delay, then the Contract Time shall be extended for such
         reasonable time as the Owner and Contractor may mutually determine, subject to the provisions of Article 21.

         ARTICLE 15    PAYMENTS AND COMPLETION
         § 15.1 Schedule of Values
         § 15.1.1 The Contractor shall submit a schedule of values to the Owner before the first Application for Payment,
         allocating the current Cost of the Work to the various portions of the Work. The schedule of values shall be prepared
         in the form and supported by the data to substantiate its accuracy required by the Owner. This schedule of values shall
         be used as a basis for reviewing the Contractor’s Applications for Payment.

         § 15.1.2 The allocation of the Guaranteed Maximum Price Cost of the Work under this Section 15.1 shall not
         constitute a separate stipulated sum or guaranteed maximum price for each individual line item in the schedule of
         values.


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   (Paragraphs deleted)
   § 15.2.4 The Contractor shall develop and implement a detailed system of cost control that will provide the Owner
   with timely information as to the anticipated total Cost of the Work. The cost control system shall compare the
   Guaranteed Maximum Price cost breakdown (Exhibit "A") with the actual cost for activities in progress and estimates
   for uncompleted tasks and proposed changes. This information shall be reported to the Owner, in writing, no later than
   the Contractor’s first Application for Payment and shall be revised and submitted with each Application for Payment.

   § 15.2.5 The Owner shall authorize preparation of revisions to the Contract Documents that incorporate the
   agreed-upon assumptions contained in the Control Estimate. The Owner shall promptly furnish such revised Contract
   Documents to the Contractor. The Contractor shall notify the Owner and Architect of any inconsistencies between the
   Control Estimate and the revised Contract Documents.

  § 15.3 Applications for Payment
  § 15.3.1 On the first business day of each month, the Contractor shall submit to the Owner an itemized Application for
  Payment prepared in accordance with the schedule of values, if required under Section 15.1, for completed portions of
  the Work. The application shall be notarized, if required; be supported by all data substantiating the Contractor’s right
  to payment that the Owner require; shall reflect retainage if provided for in the Contract Documents; and include any
  revised cost control information required by Section 15.2.4. Applications for Payment shall not include requests for
  payment for portions of the Work for which the Contractor does not intend to pay a Subcontractor or supplier, unless
  such Work has been performed by others whom the Contractor intends to pay.

  § 15.3.2 With each Application for Payment where the Contract Sum is based upon the Cost of the Work, or the Cost of
  the Work with a Guaranteed Maximum Price, the Contractor shall submit, petty cash accounts, receipted invoices or
  invoices with check vouchers attached, and any other evidence required by the Owner to demonstrate that cash
  disbursements already made by the Contractor on account of the Cost of the Work equal or exceed progress payments
  already received by the Contractor for the period covered by the present Application for Payment, less that portion of the
  progress payments attributable to the Contractor’s Fee.

  § 15.3.3 Payments shall be made on account of materials and equipment delivered and suitably stored at the site for
 subsequent incorporation in the Work. If approved in advance by the Owner, payment may similarly be made for
 materials and equipment stored, and protected from damage, off the site at a location agreed upon in writing,

 § 15.3.4 The Contractor warrants that title to all Work covered by an Application for Payment will pass to the Owner
 no later than the time of payment. The Contractor further warrants that upon submittal of an Application for Payment
 all Work for which Certificates for Payment have been previously issued and payments received from the Owner shall,
 to the best of the Contractor’s knowledge, information and belief, be free and clear of liens, claims, security interests
 or other encumbrances adverse to the Owner’s interests.

 § 15.4 Certificates for Payment
 § 15.4.1 The Owner will, within seven days after receipt of the Contractor’s Application for Payment, either issue to
 the Owner a Certificate for Payment, with a copy to the Contractor, for such amount as the Architect determines is
 properly due, or notify the Contractor and Owner of the Architect’s reasons for withholding certification in whole or in
 part as provided in Section 15.4.3.



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           § 15.4.2 The issuance of a Certificate for Payment will constitute a representation by the Owner, based on the
          Owner’s evaluations of the Work and the data in the Application for Payment, that, to the best of the Owner’s
          knowledge, information, and belief, the Work has progressed to the point indicated, the quality of the Work is in
          accordance with the Contract Documents, and the Contractor is entitled to payment in the amount certified. The
          foregoing representations are subject to an evaluation of the Work for conformance with the Contract Documents
          upon Substantial Completion, to results of subsequent tests and inspections, to correction of minor deviations from the
          Contract Documents prior to completion and to specific qualifications expressed by the Owner. However, the
          issuance of a Certificate for Payment will not be a representation that the Owner has (1) made exhaustive or
          continuous on-site inspections to check the quality or quantity of the Work; (2) reviewed construction means,
          methods, techniques, sequences, or procedures; (3) reviewed copies of requisitions received from Subcontractors and
          suppliers and other data requested by the Owner to substantiate the Contractor’s right to payment; or (4) made
          examination to ascertain how or for what purpose the Contractor has used money previously paid on account of the
          Contract Sum.

          § 15.4.3 The Owner may withhold a Certificate for Payment in whole or in part, to the extent reasonably necessary to
          protect the Owner, if in the Owner’s opinion the representations to the Owner required by Section 15.4.2 cannot be
          made. If the Owner is unable to certify payment in the amount of the Application, the Owner will notify the
          Contractor as provided in Section 15.4.1. If the Contractor and the Owner cannot agree on a revised amount, the
          Owner will promptly issue a Certificate for Payment for the amount for which the Owner is able to make such
          representations . The Owner may also withhold a Certificate for Payment or, because of subsequently discovered
          evidence, may nullify the whole or a part of a Certificate for Payment previously issued, to such extent as may be
          necessary in the Owner’s opinion to protect the Owner from loss for which the Contractor is responsible, including
          loss resulting from acts and omissions described in Section 9.2.2, because of
                    .1     defective Work not remedied;
                    .2    third-party claims filed or reasonable evidence indicating probable filing of such claims unless security
                          acceptable to the Owner is provided by the Contractor;
                   .3     failure of the Contractor to make payments properly to Subcontractors or suppliers for labor, materials
                          or equipment;
                   .4     reasonable evidence that the Work cannot be completed for the unpaid balance of the Contract Sum;
                   .5     damage to the Owner or a Separate Contractor;
                   .6     reasonable evidence that the Work will not be completed within the Contract Time and that the unpaid
                          balance would not be adequate to cover actual or liquidated damages for the anticipated delay; or
                   .7     repeated failure to cany out the Work in accordance with the Contract Documents.

         § 15.4.4 When the Contractor disputes the Owner’s decision regarding a Certificate for Payment under Section
         15.4.3, in whole or in part, that party may submit a Claim in accordance with Article 21.

         § 15.5 Progress Payments
         § 15.5.1 The Contractor shall pay each Subcontractor, no later than seven days after receipt of payment from the
         Owner, the amount to which the Subcontractor is entitled, reflecting percentages actually retained from payments to
         the Contractor on account of the Subcontractor’s portion of the Work. The Contractor shall, by appropriate agreement
         with each Subcontractor, require each Subcontractor to make payments to sub-subcontractors in a similar manner.

        § 15.5.2 Neither the Owner nor Architect shall have an obligation to pay or see to the payment of money to a
        Subcontractor or supplier except as may otherwise be required by law.

        § 15.5.3 A progress payment, or partial or entire use or occupancy of the Project by the Owner shall not constitute
        acceptance of Work not in accordance with the Contract Documents.

        § 15.5.4 Provided the Owner has fulfilled its payment obligations under the Contract Documents, the Contractor shall
        defend and indemnify the Owner from all loss, liability, damage or expense, including reasonable attorney’s fees and
        litigation expenses, arising out of any lien claim or other claim for payment by any Subcontractor or supplier of any
        tier. Upon receipt of notice of a lien claim or other claim for payment, the Owner shall notify the Contractor. If
        approved by the applicable court, when required, the Contractor may substitute a surety bond for the property against
        which the lien or other claim for payment has been asserted.



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    § 15.6 Substantial Completion
    § 15.6.1 Substantial Completion is the stage in the progress of the Work when the Work or designated portion thereof
    is sufficiently complete in accordance with the Contract Documents so that the Owner can complete the final finishes,
    millwork, flooring and landscaping necessaiy to obtain Final Completion,

    § 15.6.2 When the Contractor considers that the Work, or a portion thereof which the Owner agrees to accept
    separately, is substantially complete, the Contractor shall prepare and submit to the Owner a comprehensive list of
    items to be completed or corrected prior to final payment. Failure to include an item on such list does not alter the
    responsibility of the Contractor to complete all Work in accordance with the Contract Documents.

    § 15.6.3 Upon receipt of the Contractor’s list, the Owner will make an inspection to determine whether the Work or
   designated portion thereof is substantially complete. When the Owner determines that the Work or designated portion
   thereof is substantially complete, the Owner will issue a Certificate of Substantial Completion which shall establish
   the date of Substantial Completion; establish responsibilities of the Owner and Contractor for security, maintenance,
   heat, utilities, damage to the Work and insurance; and fix the time within which the Contractor shall finish all items on
   the list accompanying the Certificate. Warranties required by the Contract Documents shall commence on the date of
   Substantial Completion of the Work or designated portion thereof unless otherwise provided in the Certificate of
   Substantial Completion.

   § 15.6.4 The Certificate of Substantial Completion shall be submitted to the Owner and Contractor for their written
   acceptance of responsibilities assigned to them in the Certificate. Upon such acceptance and consent of surety, if any,
   the Owner shall make payment of retainage applying to the Work or designated portion thereof. Such payment shall be
   adjusted for Work that is incomplete or not in accordance with the requirements of the Contract Documents.

   § 15.7 Final Completion and Final Payment
   § 15.7.1 Upon receipt of the Contractor’s notice that the Work is ready for final inspection and acceptance and upon
  receipt of a final Application for Payment, the Owner will promptly make such inspection and, when the Owner finds
  the Work acceptable under the Contract Documents and the Contract fully performed, the Work has been completed in
  accordance with the Contract Documents and that the entire balance found to be due the Contractor is due and payable.
  The Owner’s acceptance of the Work will constitute a further representation that conditions stated in Section 15.7.2 as
  precedent to the Contractor’s being entitled to final payment have been fulfilled.

  § 15.7.2 Final payment shall not become due until the Contractor has delivered to the Owner a complete release of all
  liens arising out of this Contract or receipts in full covering all labor, materials and equipment for which a lien could be
  filed, or a bond satisfactory to the Owner to indemnify the Owner against such lien. If such lien remains unsatisfied
  after payments are made, the Contractor shall refund to the Owner all money that the Owner may be compelled to pay
  in discharging such lien, including costs and reasonable attorneys’ fees.

  § 15.7.3 The making of final payment shall constitute a waiver of claims by the Owner except those arising from
           .1  liens, claims, security interests or encumbrances arising out of the Contract and unsettled;
           .2  failure of the Work to comply with the requirements of the Contract Documents;
           .3  terms of special warranties required by the Contract Documents; or
           .4  audits performed by the Owner, if permitted by the Contract Documents, after final payment.

 § 15.7.4 Acceptance of final payment by the Contractor, a Subcontractor or supplier shall constitute a waiver of claims
 by that payee except those previously made in writing and identified by that payee as unsettled at the time of the final
 Application for Payment.

 § 15.7.5 Final payment shall not become due until the contractor has completed all punchlist items and submitted
 close-out/warranty documents to the satisfaction of the Owner and/or Architect. Said punchlist work/closeout
 documents shall be completed by the Contractor in a manner that is acceptable to the Owner and/or Architect within
 twenty-one (21) calendar days of final inspection by local authorities. If contractor fails to meet this requirement.
 Owner reserves the right to complete the work. The amount due to Contractor will be reduced by the cost the Owner
 incurs to complete the work, plus twenty percent (20%).




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    ARTICLE 16       PROTECTION OF PERSONS AND PROPERTY
    § 16.1 Safety Precautions and Programs
    The Contractor shall be responsible for initiating, maintaining, and supervising all safety precautions and programs in
    connection with the performance of the Contract. The Contractor shall take reasonable precautions for safety of, and
    shall provide reasonable protection to prevent damage, injury, or loss to
             .1    employees on the Work and other persons who may be affected thereby;
             .2    the Work and materials and equipment to be incorporated therein, whether in storage on or off the site,
                   under care, custody, or control of the Contractor, a Subcontractor, or a Sub-subcontractor; and
             .3    other properly at the site or adjacent thereto, such as trees, shrubs, lawns, walks, pavements, roadways,
                   structures and utilities not designated for removal, relocation, or replacement in the course of
                   construction.

   The Contractor shall comply with, and give notices required by, applicable laws, statutes, ordinances, codes, rules and
   regulations, and lawful orders of public authorities bearing on safety of persons and property and their protection from
   damage, injury, or loss. The Contractor shall promptly remedy damage and loss to property caused in whole or in part
   by the Contractor, a Subcontractor, a sub-subcontractor, or anyone directly or indirectly employed by any of them, or
   by anyone for whose acts they may be liable and for which the Contractor is responsible under Sections 16.1.2 and
   16.1.3. The Contractor may make a claim for the cost to remedy the damage or loss to the extent such damage or loss
   is attributable to acts or omissions of the Owner or Architect or by anyone for whose acts either of them may be liable,
   and not attributable to the fault or negligence of the Contractor. The foregoing obligations of the Contractor are in
   addition to the Contractor’s obligations under Section 9.15.

  § 16.2 Hazardous Materials and Substances
  § 16.2.1 The Contractor is responsible for compliance with the requirements of the Contract Documents regarding
  hazardous materials or substances. If the Contractor encounters a hazardous material or substance not addressed in the
  Contract Documents, and if reasonable precautions will be inadequate to prevent foreseeable bodily injury or death to
  persons resulting from a material or substance, including but not limited to asbestos or polychlorinated biphenyl
  (PCB), encountered on the site by the Contractor, the Contractor shall, upon recognizing the condition, immediately
  stop Work in the affected area and notify the Owner of the condition. When the material or substance has been
  rendered harmless. Work in the affected area shall resume upon written agreement of the Owner and Contractor. By
  Change Order, the Contract Time shall be extended appropriately and the Contract Sum shall be increased in the
  amount of the Contractor’s reasonable additional costs of shutdown, delay, and start-up.

  § 16.2.2 To the fullest extent permitted by law, the Owner shall indemnify and hold harmless the Contractor,
   Subcontractors, Architect, Architect’s consultants, and agents and employees of any of them from and against claims,
  damages, losses, and expenses, including but not limited to attorneys’ fees, arising out of or resulting from
  performance of the Work in the affected area, if in fact, the material or substance presents the risk of bodily injuiy or
  death as described in Section 16.2.1 and has not been rendered harmless, provided that such claim, damage, loss, or
  expense is attributable to bodily injury, sickness, disease or death, or to injury to or destruction of tangible property
  (other than the Work itself), except to the extent that such damage, loss, or expense is due to the fault or negligence of
  the party seeking indemnity.

 § 16.2.3 If, without negligence on the part of the Contractor, the Contractor is held liable by a government agency for
 the cost of remediation of a hazardous material or substance solely by reason of performing Work as required by the
 Contract Documents, the Owner shall indemnify the Contractor for all cost and expense thereby incurred.

 ARTICLE 17 INSURANCE
 § 17.1 Contractor's Insurance
 § 17.1.1 The Contractor shall purchase and maintain insurance of the types and limits of liability, containing the
 endorsements, and subject to the terms and conditions, as described in this Section 17.1 or elsewhere in the Contract
 Documents. The Contractor shall purchase and maintain the insurance required by this Agreement from an insurance
 company or insurance companies lawfully authorized to issue insurance in the jurisdiction where the Project is
 located. The Contractor shall maintain the required insurance until the expiration of the period for correction of Work
 as set forth in Section 18.4, unless a different duration is stated below:




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            § 17.1.2 Commercial General Liability insurance for the Project written on an occurrence form with policy limits of not less
            than One Million Dollars ($1,000,000.00) each occurrence. Two Million Dollars ($ 2,000,000.00 ) general aggregate,
            and Two Million Dollars ($ 2,000,000,00 ) aggregate for products-completed operations hazard, providing coverage for
            claims including
                     .1    damages because of bodily injury, sickness or disease, including occupational sickness or disease, and
                           death of any person;
                     .2    personal and advertising injury;
                     .3    damages because of physical damage to or destruction of tangible property, including the loss of use of
                           such property;
                     .4    bodily injury or property damage arising out of completed operations; and
                     .5    the Contractor’s indemnity obligations under Section 9.15.

           § 17.1.3 Automobile Liability covering vehicles owned by the Contractor and non-owned vehicles used by the
           Contractor, with policy limits of not less than One Million Dollars ($ 1,000,000.00) per accident, for bodily injuiy,
           death of any person, and property damage arising out of the ownership, maintenance, and use of those motor vehicles
           along with any other statutorily required automobile coverage.

           § 17.1.4 The Contractor may achieve the required limits and coverage for Commercial General Liability and
           Automobile Liability through a combination of primary and excess or umbrella liability insurance, provided such
           primary and excess or umbrella insurance policies result in the same or greater coverage as those required under
           Section 17.1.2 and 17.1.3, and in no event shall any excess or umbrella liability insurance provide narrower coverage
           than the primary policy. The excess policy shall not require the exhaustion of the underlying limits only through the
           actual payment by the underlying insurers.

           § 17.1.5                 Workers’ Compensation at statutory limits.

           § 17.1.6 Employers’ Liability with policy limits not less than One Million Dollars ($ 1,000,000.00 ) each accident.
           One Million Dollars ($ 1,000,000.00 ) each employee, and One Million Dollars ($ 1,000,000.00 ) policy limit.




    I     (Paragraphs deleted)
          § 17.1.10 The Contractor shall provide certificates of insurance acceptable to the Owner evidencing compliance with
          the requirements in this Section 17.1 at the following times: (1) prior to commencement of the Work; (2) upon renewal
          or replacement of each required policy of insurance; and (3) upon the Owner’s written request. An additional
          certificate evidencing continuation of liability coverage, including coverage for completed operations, shall be
          submitted with the final Application for Payment and thereafter upon renewal or replacement of such coverage until
          the expiration of the period required by Section 17.1.1. The certificates will show the Owner as an additional insured
          on the Contractor’s Commercial General Liability and excess or umbrella liability policy.




(        (Paragraphs deleted)
         § 17.1.13 Within three (3) business days ofthe date the Contractor becomes aware of an impending or actual
         cancellation or expiration of any insurance required by this Section 17.1, the Contractor shall provide notice to the
         Owner of such impending or actual cancellation or expiration. Upon receipt of notice from the Contractor, the Owner
         shall, unless the lapse in coverage arises from an act or omission of the Owner, have the right to stop the Work until the
         lapse in coverage has been cured by the procurement of replacement coverage by the Contractor. The furnishing of
         notice by the Contractor shall not relieve the Contractor of any contractual obligation to provide any required
         coverage.


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                        Coverage                                                Limits



            (Table deleted)
            (Paragraphs deleted)
            § 17.2 Owner’s insurance
            § 17.2.1 Owner’s Liability Insurance
            The Owner shall be responsible for purchasing and maintaining the Owner’s usual liability insurance.

           § 17.2.2 Property Insurance
           § 17.2.2.1   The Owner shall purchase and maintain, from an insurance company or insurance companies lawfully
           authorized to issue insurance in the jurisdiction where the Project is located, property insurance written on a builder’s
           risk "all-risks" completed value or equivalent policy form and sufficient to cover the total value of the entire Project on
           a replacement cost basis. The Owner’s property insurance coverage shall be no less than the amount of the initial
           Contract Sum, plus the value of subsequent Modifications and labor performed or materials or equipment supplied by
           others. The property insurance shall be maintained until Substantial Completion and thereafter as provided in Section
           17.2.2.2, unless otherwise provided in the Contract Documents or otherwise agreed in writing by the parties to this
           Agreement. This insurance shall include the interests of the Owner, Contractor, Subcontractors, and
           Sub-subcontractors in the Project as insureds. This insurance shall include the interests of mortgagees as loss payees.

           § 17.2.2.2 Unless the parties agree otherwise, upon Substantial Completion, the Owner shall continue the insurance
           required by Section 17.2.2.1 or, if necessary, replace the insurance policy required under Section 17.2.2.1 with
           property insurance written for the total value of the Project that shall remain in effect until expiration of the period for
           correction of the Work set forth in Section 18.4.

          § 17.2.2.3If the insurance required by this Section 17.2.2 is subject to deductibles or self-insured retentions, the
          Owner shall be responsible for all loss not covered because of such deductibles or retentions.

          § 17.2.2.4 If the Work involves remodeling an existing structure or constructing an addition to an existing structure,
          the Owner shall purchase and maintain, until the expiration of the period for correction of Work as set forth in
          Section 18.4, "all-risks" property insurance, on a replacement cost basis, protecting the existing structure against
          direct physical loss or damage, notwithstanding the undertaking of the Work. The Owner shall be responsible for all
          co-insurance penalties.

          § 17.2.2.5 Prior to commencement of the Work, the Owner shall secure the insurance, and provide evidence of the
          coverage, required under this Section 17.2.2 and, upon the Contractor’s request, provide a copy of the property
          insurance policy or policies required by this Section 17.2.2. The copy of the policy or policies provided shall contain
          all applicable conditions, definitions, exclusions, and endorsements.

          § 17.2.2.6 Within three (3) business days of the date the Owner becomes aware of an Impending or actual cancellation
         or expiration of any insurance required by this Section 17.2.2, the Owner shall provide notice to the Contractor of such
         impending or actual cancellation or expiration. Unless the lapse in coverage arises from an act or omission of the
         Contractor: (1) the Contractor, upon receipt of notice from the Owner, shall have the right to stop the Work until the
         lapse in coverage has been cured by the procurement of replacement coverage by either the Owner or the Contractor;
         (2) the Contract Time and Contract Sum shall be equitably adjusted; and (3) the Owner waives all rights against the
         Contractor, Subcontractors, and Sub-subcontractors to the extent any loss to the Owner would have been covered by
         the insurance had it not expired or been cancelled. If the Contractor purchases replacement coverage, the cost of the
         insurance shall be charged to the Owner by an appropriate Change Order. The furnishing of notice by the Owner shall
         not relieve the Owner of any contractual obligation to provide required insurance,

         § 17.2.2.7 Waiver of Subrogation
         § 17.2.2.7.1 The Owner and Contractor waive all rights against (1) each other and any of their subcontractors,
         sub-subcontractors, agents, and employees, each of the other; (2) the Architect and Architect’s consultants; and (3)
         Separate Contractors, if any, and any of their subcontractors, sub-subcontractors, agents, and employees, for damages
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             caused by fire, or other causes of loss, to the extent those losses are covered by property insurance required by this
             Agreement or other property insurance applicable to the Project, except such rights as they have to proceeds of such
             insurance. The Owner or Contractor, as appropriate, shall require similar written waivers in favor of the individuals
             and entities identified above from the Architect, Architect’s consultants. Separate Contractors, subcontractors, and
             sub-subcontractors. The policies of insurance purchased and maintained by each person or entity agreeing to waive
             claims pursuant to this Section 17.2.2.7 shall not prohibit this waiver of subrogation. This waiver of subrogation shall
             be effective as to a person or entity (1) even though that person or entity would otherwise have a duty of
             indemnification, contractual or otherwise, (2) even though that person or entity did not pay the insurance premium
             directly or indirectly, or (3) whether or not the person or entity had an insurable interest in the damaged property.

             § 17.2.2.7.2 If during the Project construction period the Owner insures properties, real or personal or both, at or
            adjacent to the site by property insurance under policies separate from those insuring the Project, or if after final
            payment property insurance is to be provided on the completed Project through a policy or policies other than those
            insuring the Project during the construction period, to the extent permissible by such policies, the Owner waives all
            rights in accordance with the terms of Section 17.2.2.7.1 for damages caused by fire or other causes of loss covered by
            this separate property insurance.

            § 17.2.2.8 A loss insured under the Owner’s property insurance shall be adjusted by the Owner as fiduciary and made
            payable to the Owner as fiduciaiy for the insureds, as their interests may appear, subject to requirements of any
            applicable mortgagee clause. The Owner shall pay the Architect and Contractor their just shares of insurance proceeds
            received by the Owner, and by appropriate agreements, written where legally required for validity, the Architect and
            Contractor shall make payments to their consultants and Subcontractors in similar manner.

            § 17.2.3 Other Insurance Provided by the Owner
            (List below any other insurance coverage to be provided by the Owner and any applicable limits.)

                       Coverage                                                  Limits
     I                   Builder’s Risk




 I         (Paragraphs deleted)
           ARTICLE 18          CORRECTION OF WORK
           § 18.1 The Contractor shall promptly correct Work rejected by the Owner or failing to conform to the requirements of the
           Contract Documents, whether discovered before or after Substantial Completion and whether or not fabricated, installed, or
           completed. Costs of correcting such rejected Work, including additional testing and inspections, the cost of uncovering and
           replacement, and compensation for the Architect’s services and expenses made necessary thereby, shall be at the
           Contractor’s expense, unless compensable under Section A. 1.7.3 in Exhibit A, Determination of the Cost of the Work.

           § 18.2 In addition to the Contractor’s obligations under Section 9.4, if, within one year after the date of Substantial
          Completion of the Work or designated portion thereof or after the date for commencement of warranties established
          under Section 15.6.3, or by terms of an applicable special warranty required by the Contract Documents, any of the
          Work is found to be not in accordance with the requirements of the Contract Documents, the Contractor shall correct it
          promptly after receipt of notice from the Owner to do so unless the Owner has previously given the Contractor a
          written acceptance of such condition. The Owner shall give such notice promptly after discovery of the condition.
          During the one-year period for correction of Work, if the Owner fails to notify the Contractor and give the Contractor
          an opportunity to make the correction, the Owner waives the rights to require correction by the Contractor and to make
          a claim for breach of warranty.

          § 18.3 If the Contractor fails to correct nonconforming Work within a reasonable time, the Owner may correct it in
          accordance with Section 8.3.




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            § 18.4 The one-year period for correction of Work shall be extended with respect to portions of Work first performed
            after Substantial Completion by the period of time between Substantial Completion and the actual completion of that
            portion of the Work.

            § 18.5 The one-year period for correction of Work shall not be extended by corrective Work performed by the
            Contractor pursuant to this Article 18.

           ARTICLE 19 MISCELLANEOUS PROVISIONS
           § 19.1 Assignment of Contract
           Neither party to the Contract shall assign the Contract without written consent of the other, except that the Owner may,
           without consent of the Contractor, assign the Contract to a lender providing construction financing for the Project if
           the lender assumes the Owner’s rights and obligations under the Contract Documents. The Contractor shall execute all
           consents reasonably required to facilitate such assignment. The Contractor agrees to allow the Owner to assign the
           Contract if requested by the Owner’s Lender for the Project, and to allow any other assignment as reasonably
           requested by the Owner.

           § 19.2 Governing Law
           The Contract shall be governed by the law of the place where the Project is located, excluding that jurisdiction’s
           choice of law rules. If the parties have selected arbitration as the method of binding dispute resolution, the Federal
           Arbitration Act shall govern Section 21.6.

          § 19.3 Tests and Inspections
           Tests, inspections, and approvals of portions of the Work required by the Contract Documents or by applicable laws,
          statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities shall be made at an appropriate
          time. Unless otherwise provided, the Contractor shall make arrangements for such tests, inspections, and approvals
          with Owner’s independent testing laboratory or entity acceptable to the Owner, or with the appropriate public
          authority. Owner shall bear all related costs of tests, inspections, and approvals. The Contractor shall give the Owner
          timely notice of when and where tests and inspections are to be made so that the Owner or Owner’s independent
          testing agency or local code officials may be present for such procedures. The Owner shall bear costs of tests,
          inspections, or approvals that do not become requirements until after bids are received or negotiations concluded. The
          Owner shall directly arrange and pay for tests, inspections, or approvals where building codes or applicable laws or
          regulations so require.

          § 19.4 The Owner’s representative:
          (Name, address, email address and other information)

          Carl Wright
          East Third Media, Limited Liability Company
          c/o Wright Partners
          20 Sou th Olive Street
          Suite 203
          Media, PA 19063
          610.566.0270

         § 19.5 The Contractor’s representative;
         (Name, address, email address and other information)

          James Buckley
          Scungio Borst Associates
          One Port Center, 2 Riverside Drive, Suite 500
          Camden, NJ 08103
         (856)757-0100
         jbuckley@scungioborst.com

         § 19.6 Neither the Owner’s nor the Contractor’s representative shall be changed without ten days’ prior notice to the
         other party.


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            ARTICLE 20          TERMINATION OF THE CONTRACT
            § 20.1    Termination by the Contractor
            If the Owner fails to certify payment as provided in Section 15.4.1 for a period of 30 days through no fault of the
            Contractor, or if the Owner fails to make payment as provided in Section 4.1.3 for a period of 30 days, the Contractor
            may, upon seven additional days’ notice to the Owner, terminate the Contract and recover from the Owner payment
            for Work executed, including reasonable overhead and profit, costs incurred by reason of such termination, and
            damages.

            § 20.2       Termination by the Owner for Cause
            § 20.2.1      The Owner may terminate the Contract if the Contractor
                       .1    repeatedly refuses or fails to supply enough properly skilled workers or proper materials;
                       .2    fails to make payment to Subcontractors for materials or labor in accordance with the respective
                             agreements between the Contractor and the Subcontractors;
                       .3    repeatedly disregards applicable laws, statutes, ordinances, codes, rules and regulations, or lawful
                             orders of a public authority; or
                       .4    otherwise is guilty of substantial breach of a provision of the Contract Documents.

           § 20.2.2 When any of the reasons described in Section 20.2.1 exists, the Owner, upon certification that sufficient
           cause exists to justify such action, may, without prejudice to any other remedy the Owner may have and after giving
           the Contractor seven days’ notice, terminate the Contract and take possession of the site and of all materials,
           equipment, tools, and construction equipment and machinery thereon owned by the Contractor and may finish the
           Work by whatever reasonable method the Owner may deem expedient. Upon request of the Contractor, the Owner
           shall furnish to the Contractor a detailed accounting of the costs incurred by the Owner in finishing the Work.

           § 20.2.3 When the Owner terminates the Contract for one of the reasons stated in Section 20.2.1, the Contractor shall
           not be entitled to receive further payment until the Work is finished.

          § 20.2.4 If the unpaid balance of the Contract Sum exceeds costs of finishing the Work, including compensation for
          the Architect’s services and expenses made necessary thereby, and other damages incurred by the Owner and not
          expressly waived, such excess shall be paid to the Contractor. If such costs and damages exceed the unpaid balance,
          the Contractor shall pay the difference to the Owner. The amount to be paid to the Contractor or Owner, as the case
          may be, shall be certified by the Architect, upon application, and this obligation for payment shall survive termination
          of the Contract.

          § 20.3 Termination by the Owner for Convenience
          The Owner may, at any time, terminate the Contract for the Owner’s convenience and without cause. The Owner shall
          pay the Contractor for Work executed; and costs incurred by reason of such termination, including costs attributable to
          termination of Subcontracts; and a termination fee. if any, as follows:
          (Insert the amount of or methodfor determining the fee payable to the Contractor by the Ownerfollowing a
          termination for the Owner’s convenience, ifany.)

          Contractor is entitled to receive the Fee established in the initial Cost of the Work as shown in the intital Schedule of
          Values at the start of the Work without reduction, any Fee established in approved Change Order Requests or Change
          Orders will be due the Contractor up to the amount of completed work prior to the Termination for Convenience.

         ARTICLE 21 CLAIMS AND DISPUTES
         § 21.1 Claims, disputes, and other matters in question arising out of or relating to this Contract, including those
         alleging an error or omission by the Architect but excluding those arising under Section 16.2, shall be referred initially
         to the Owner for decision. Such matters, except those waived as provided for in Section 21.11 and Sections 15.7.3 and
         15.7.4, shall, after initial decision by the Owner or 30 days after submission of the matter to the Owner, be subject to
         mediation as a condition precedent to binding dispute resolution.

         § 21.2 Notice of Claims
         § 21.2.1 Claims by either the Owner or Contractor, where the condition giving rise to the Claim is first discovered
         prior to expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the
         Owner within 21 days after occurrence of the event giving rise to such Claim or within 21 days after the claimant first
         recognizes the condition giving rise to the Claim, whichever is later.
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            § 21.2.2 Claims by either the Owner or Contractor, where the condition giving rise to the Claim is first discovered after
            expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the other
            party.

            § 21.3      Time Limits on Claims
            The Owner and Contractor shall commence all claims and causes of action against the other and arising out of or
            related to the Contract in accordance with the requirements of the final dispute resolution method selected in this
            Agreement whether in contract, tort, breach of warranty, or otherwise, within the period specified by applicable law,
            but in any case not more than 10 years after the date of Substantial Completion of the Work. The Owner and
            Contractor waive all claims and causes of action not commenced in accordance with this Section 21.3.

            § 21.4 If a claim, dispute or other matter in question relates to or is the subject of a mechanic’s lien, the party asserting
            such matter may proceed in accordance with applicable law to comply with the lien notice or filing deadlines.

           § 21.5 The parties shall endeavor to resolve their disputes by mediation which, unless the parties mutually agree
           otherwise, shall be administered by the American Arbitration Association in accordance with their Construction
           Industry Mediation Procedures in effect on the date of this Agreement. A request for mediation shall be made in
           writing, delivered to the other party to this Agreement, and filed with the person or entity administering the mediation.
           The request may be made concurrently with the binding dispute resolution but, in such event, mediation shall proceed
           in advance of binding dispute resolution proceedings, which shall be stayed pending mediation for a period of 60 days
           from the date of filing, unless stayed for a longer period by agreement of the parties or court order. If an arbitration is
           stayed pursuant to this Section, the parties may nonetheless proceed to the selection of the arbitrator(s) and agree upon
           a schedule for later proceedings.

           § 21.6 If the parties have selected arbitration as the method for binding dispute resolution in this Agreement, any
           claim, subject to, but not resolved by, mediation shall be subject to arbitration which, unless the parties mutually agree
           otherwise, shall be administered by the American Arbitration Association, in accordance with the Construction
           Industiy Arbitration Rules in effect on the date of this Agreement. Demand for arbitration shall be made in writing,
           delivered to the other party to the Contract, and filed with the person or entity administering the arbitration. The award
           rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon it in accordance with
           applicable law in any court having jurisdiction thereof.

          § 21.7 Subject to the rules of the American Arbitration Association or other applicable arbitration rules, either party, at
          its sole discretion, may consolidate an arbitration conducted under this Agreement with any other arbitration to which
          it is a party provided that (1) the arbitration agreement governing the other arbitration permits consolidation; (2) the
          arbitrations to be consolidated substantially involve common questions of law or fact; and (3) the arbitrations employ
          materially similar procedural rules and methods for selecting arbitrator(s).

          § 21.8 Subject to the rules of the American Arbitration Association or other applicable arbitration rules, any party to
          an arbitration may include by joinder persons or entities substantially involved in a common question of law or fact
          whose presence is required if complete relief is to be accorded in arbitration provided that the party sought to be joined
          consents in writing to such joinder. Consent to arbitration involving an additional person or entity shall not constitute
          consent to arbitration of a Claim not described in the written Consent.

          § 21.9 The foregoing agreement to arbitrate and other agreements to arbitrate with an additional person or entity duly
          consented to by parties to this Agreement, shall be specifically enforceable under applicable law in any court having
         jurisdiction thereof.

         § 21.10 Continuing Contract Performance
         Pending final resolution of a Claim, except as otherwise agreed in writing, the Contractor shall proceed diligently with
         performance of the Contract and the Owner shall continue to make payments in accordance with the Contract
         Documents.

         § 21.11 Waiver of Claims for Consequential Damages
         The Contractor and Owner waive claims against each other for consequential damages arising out of or relating to this
         Contract. This mutual waiver includes
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                        .1     damages incurred by the Owner for rental expenses, for losses of use, income, profit, financing,
                               business and reputation, and for loss of management or employee productivity or of the services of such
                               persons; and
                        .2     damages incurred by the Contractor for principal office expenses including the compensation of
                               personnel stationed there, for losses of financing, business and reputation, and for loss of profit except
                               anticipated profit arising directly from the Work.

            This mutual waiver is applicable, without limitation, to all consequential damages due to either party’s termination in
            accordance with Article 20. Nothing contained in this Section 21.11 shall be deemed to preclude an award of
            liquidated damages, when applicable, in accordance with the requirements of the Contract Documents.

            This Agreement entered into as of the day and year first written above.



              OWNER (Signature)                                                            CONTRACTOR (Signature)


             (Printed name and title)                                                      (Printed name and title)




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   This Agreeinenl entered into as of the day and year first written above.




    OWNER (Signaliirej

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    (Printed name and tide)                                              (Printed nanwand title)   --




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                                                 Exhibit A Page 29 of 62
   EXHIBIT "A" - Proposal Breakdown
   General Conditions and Staffing


        Scungio<>Borst          CONSTRUCTION MANAGEMENT
                                                                                                                                    SCUNGIO BORST & ASSOCIATES
                                                                                                                                       2 RIVERSIDE DRIVE, SUITE 500
                                                                                                                                                 CAMDEN, NJ. 08103

                                                 WRIGHT PARTNERS OFFICE BUILDING“.....
                                                        MEDIA, PENNSYLVANIA............................................................
                                                     CONSTRUCTION PROPOSAL
                                                            September 23, 2020
            PROPOSAL FORM
          : Trade Description                         Estimated Value                     Proposed Sub-Contractor{s) to be supplied at award                                  % cost
 : 1       ;general requirements                           S26,021                                          Dumpsters, Cleanup, OSHA, Survey                                  0.91%

                                                      ______________                                            Temporary Fence & Signage
                                                       _________ 56,000;                                              Survey / Layout

                                                                    $14,400                                              Dumpsters

                                                                     $2,521                                               Cleanup

                                                                   J3.100                             Plans, Documentation, Document Management
 • 1.1      PERMIT COST                                       NIC                                                       Permit Costs                                          0.00%
            TEMPORARY MEASURES                             515,140                                               Temporary Construction                                       0.53%

                                                                                                                   Temporary Measures

                                                                                                                 Temporary Power/Water

                                                     ___________ $8.740               ‘                       Temporary Toilets, Temp Office

                                                     .___________ $6,400 -                    Site Safety Supplies, Fire Extinguishers, First Aid, Small Tools
  2.1      :DEMOLl'nON                                       NIC                                                        Demolition                               __ :         0,00%
’ 2.2      SiTEWORK                                       5253,270 ____                                                                                                  '    8,89%
                                                                                                           Grading, Utilities, Excavation, Paving
  2.3      FENCING                                   ;_______ ___________                                                 Fencing                                        ■    0.00%
  2.4      LANDSCAPING                               ___ $2___                                                     Landscaping, Pavers                                        0.00%
  3        CONCRETE                                       $206,000                                                       Concrete                                             7.23%
’ 4      ’ MASONRY                                        $146,433                                                       Masonry                                              5.14%
. S        METAL                                          $270,750                                             Structural Steel, Mise. Metals                                 9.51%

                                                                                  -                                       Railing                                             1.01%

                                                           $48,900                                            Welded Moment Connections                                       1.72%
  3.1      WOOD                                          IN FRAMING                                                       GiuLam                                              0.00%
. 5.2      IPE DECK                                  _______ NIC                                                         By Owner                                             0,00%
  7.1      THERMAL & MOISTURE PROTECTION                  $116,988                                          Roofing, Joint Sealants, Air Barrier                              4.11%
  7.2      EIFS                                              $0                                                            EIFS                                               0.00%
. 8.1      DOORS                                     ____ $41,500                                               Doors, Frames, Hardware                          __           1.46%
 8.2       GLASS/GLAZING                                  $329,763                                         Glass/GIazIng System, Glass Doors                                 11.58%
 9.1       GWB/FRAMING                                    $412,000                                            Framing, Insulation, Carpentry                         ■ 14.47%
; 9.2    . 'FLOORING                                       In Tile                                                Wood Flooring & Vinyl                                       0.00%
 3.3      Hle                                             584,450                                                           Tile                                              2.97%
 9.2       PAINTING                                      BY OWNER                                                        PainUng                                              0.00%
 10.0      MlSC ACCESSORIES                         _____ $8,527                                         Tackboard Toilet Accessories, Signage                                0.30%
 14       VERTICAL TRANSFORATION                          $104,995                                                       Elevator                                _            3,69%
 15.1     HVAC                                            $196,000                                                        HVAC                                                6.88%
 15.2     PLUMBING                                        $67,920                                                         Stub In                                    '        2.38%
 15.3     SPRINKLER                                       $41,133                                                     Fire Protection
 16       ELECTRICAL                                     $115,000                                               Power/Servlce, Fire Alarm                                     4.04%

          SUBTOTAL                                      $2,513.689            ‘

         • CONTINGENCY                                       NIC                                                       BY OWNER                                               0,00%
          GENERAL CONDITIONS                             $185,566                                    General Conditions Actual Rate Oversight Mgnt                           6,52%
         ■ INSURANCE                                      $19,797                                                    General Llabllty                                        0.70%
          TAXES                                            $798                                                         Sales Tax                                            0.03%
          OVERHEAD & PROFIT                              $128,067                                                    Fee & Overhead


          BASE PROPOSAL TOTAL                         $2,847,916                                                                                                             100.00%
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           EXHIBIT "A" - Proposal Breakdown
           General Conditions and Staffing

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      j0131   OFFM;.SB\(I)                                               co      mo                                   O                                O                     O          william SOSTISIWS
      j013l    OFFTRLRSOV.'NE.Rl-lRClU »                                     HO                                       0                                 0                    0
       0131   SCr.UPZRE^€ TRUTS                                          00 EA                                        0                                0                     0         L61«L3 WSTALl SIAIRSWRWJCOAJLS
       0131  FClCOFlceFUFJWJVRE                                           80 UO                                       0                                 0                      0       WiLlAMSCOTTSIWJSRSMTAL
     »132    FlELOon--lCeuCUff>MeNr                                       80 lAO                                      0                                 0                      0       -xEROXiF-WWlOlh-ES
     |QI32   FClOOFFlCeCOliPUieRG                                         00 AO                                       0                                 0                      0       JJaUCeSPRNIEH
     !OI3S   STAGuaARCA                                                       SP                                      0                                 0                     0        WYIRAKS
     ;oi35   iesrpr'o*()ssp/'nxPK»                                            sr                                      o                                 o                      o       vwifLMXS
     loine   rei^FEiKC                                                        ip                                      o                                 o                      o       wihaces
     tolM    ’liSIPeHClOSUllES                                                SF                                      0                                 0                      0       VAtPSAOES
     •0138   IgVPfROTECTlOWOSiW                                               IF                                      0                                 0                     0        W«tt£€S
     :0l3{.  lf;.SP\WJLXSf.W?<«!-$                                            LF                                      0                                 0                     0        WIHACeS

     i           SUOTOTAL TEMPORARY FACWIiES                                                                          0                                0                       0                     SO 0X3     SOW /SF       000% OF COST
      014 TEMPORARYUHllTesaKEATMlG
      0141    TEAPaGCT-IWSTAtL                                                    tS                                  0 •        KO                        0                    0      SI'ELECIRCAL SUO
      0141    TEM? aECT. USAGE IB'sRlYl                                           HO                                  0          iO)                       0                   0
      0141     rGMPaecT •us.-cEdAiE)                                              ho                                  o                                o                     o
      0142    IGMPWaTEft.WSrAU                                                     LS                                 0          KO                     0                     0        B'A-6CHA/4CAL SUB
      0142    TELiPYniER. USAGE                                                   MO                                  0          250                    0                    0
     ]OI43   '^VP PHONES *8181*1.1                                               SYS                                  0                                0                     0         LOCAL PHOWBCOMPAHY
      0143   lEMPPlKUieS-USAGE                                                    MO                                  0                                0                     0         LOOK. PHONE COMPANY
      0144   TEMP HEAT* ENCLOSURES                                                 SF                                 0                                0                     0
      0144   TEMP HEAT-FUEL 8 EOP                                                 WK                                  0                                0                     0
      0144   MOatEPKOHES                                                          IX}                                 0          AW                    Q                     o         VERIZON
      0144   INTER1E1                                                             I/O                                 0          22i                   0                     0
      OHS    TEMP fOLGTS'OSML (4)                                                 MO                                  0          4M                    0                     0         MftCSR>CHFeeXD*ia>
      0146   TEMPREVATOROa                                                         EA                                 0                                0                     0

                SUBTOTAL TEMPORARY onuiriES 6 HSAIMC                                                                  0                                0                     0                     SO H/O       SOM fSF       O.OOKOFCOSI
     OIS OONSIRUCIlCN EOUiPAOiT
     0151   XXTPXXUPIRLKK                                                        mlp                                  0                                0                     0
     DIS2   HOSTWllKCPERAIOfl                                                    WA<                                  0                                0                     0
     0152   El EVAIOR OPERATOR                                                   WK                                   0                                0                     0
     0152   IRASKOWJEISKuBSRuwnsJ)                                                Ga                                  0                                0                     0
     0lS2   IRASnCHUrg (mo (enigij                                               r.Xf                                 0                                0                     0

                SUBTOTAL C0NSTRl?C110llE0Uf’*'£Nt                                                                     0                                0                     0                     SO KIO       SOOO /SF      OOOK OF COST
     016 CCTiSUlAASlESSTOOLS
     0181    FeiooFFiCGSupPLeaPosi                                               iao                                  o          xii                o                        o
     0161    OVERMTElLAIlSERYCE                                                 KO                                    0          153                0                        0
     01S2    S.WLL TOOLS C 6OUP                                                 MO                                    0          225                0                        0
     0165    SAFen SUPPLIES                                                    UO                                     0          153                0                        0
     0166    FRSTAOSUPPUeS                                                     MO                                     0          253                0                        0
     0167    FRE PROTECION EOUR                                                 EA                                    0          75                 0                        0
     0168     COMI/UNlCATiOri EQUIP                                            KO                                     0                            0                         0

     ______ SUBTOTALCONSUWABLESSJOOLS_________________________________ £1_________________                                                         0___________ Q__________ SO W                               SlOO /SF      OOPS OFCOST
    0171 TRAVEL EXPENSES
    0171    mAVaGXPQ«S£-M3T                                                    MO                                     0                                0                     0
    0171    TRavELEXPENSE'SLPER.                                                 mo                                   0                                0                     0
    0171    TRAVEL EXPENSE-ICNG OST                                            MO                                     0                                0                     0
    0171    UVWOEXPENSE.lOf/ClOSr                                              MO                                     0                                0                     0

               SUBIOIAL TfLAVEl EXPENSES                                                                          0                                0                      0                        SO ZMO      SOM /SF       000% OFCOST
     0173 MIBCGILANECAIS INDRECIS
     0173      S14CW REMOVAL a reCNC                                             LS                               0                                0                      0                                                                     1
     0174     WnvnUPrtOeXPEHSE                                                   W                                0              »■                 0                      0           SUPPlIESFCRSHEaiPYliWUWES                                i
     0174     P1-A7ICM3                                                          MO                               0              /M                 0                      0           CID SETS S W-ORKWO SETS                                  !
    •0174     PblNSiSPCWCATIWlS                                                  MO                               0              5(13               0                      0           (LDSSTSC VOWNC SETS
     0174     PLAJISiSPECFiCATCNS.aOPROCeSS                                      LS                               0                                 0                      0           EUC’PKCCESS
     0174     AS-BULICRAWNGS                                                     is                               0                                 0                     0
     0175     PHOrOORAPHSIBSVO                                                 KO                                 0                                 0                     0
     0176     Pf?OJ«FORMAllO1IS6Nl2)                                           EA                                 0              1S)                0                     0
     0176     ORECTIONALSGNSIAI                                                EA                                 0              11X1               0                     0

               SJ8IOIAL MISCELLANEOUS INDRECIS                                                                    0                                0                      0                        SO HK>      MM/SF         O.M^OeCOSl
    DIO PERMITS,Lie. TAXES. INSSBDNO
    0181    GENERAL BUTOMG PERU!                                                 EA                                   0                            0                       0           ElcAiDtO
    0131    SEWER TAP FEE                                                        EA                                   0                            0                      0
    0181    OTHER FEflWITS 6 FEES                                                EA                                   0                            0                       0           CL-WST
    0187    DLDRSRISKP4SUflNK£                                                   IS                                   0                            0                      0
    0107    GSNtnAl/EXCGSSLIADillTY                                              LS                                   0                            0                       0           O.i BUSTwet
    010?    OWNEn PROTECT Y/SL'IT                                                LS                                   0                            0                      0
;              CUBTOIALP£BMlTS.llC.lAX£SaNS                                                                       0                            ’   0                  .... 0                      SO /MO       WOO/SK        O.OCKCFCOSI


[             SUBIOTAICEnERAlCONDiTDNS                                                                      165560                                 0                155.5M                S73.1&5 /MD         S77.9B ISF     652% OF COST
i             SALES lAX                                                                                                   BiKJiESI                 0                     0

;             lOTALGEIJERALCOCMiOnS                                                                         185.565                                0                lOS.&M                S23.1S6 /MO         S2798 /SF      6.52% OFCO5I
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                                                  CONTRACT DOCUMENTS
                                                         Exhibit "B”
                                       PROJECT / LOCATION: Wright Partners, Media, PA
  SHEET#             SHEET NAME                                                          ISSUED      LAST REVISED
  Specifications     Wright Partners Project Manual - Sections 1 to 28                   3/30/2018
  CSl               COVERSHEET                                                           8/10/2018
  CS 2              ABBREVIATIONS & INSTALLATION STANDARDS                               8/10/2018
  CIVIL
  1                 COVER SHEET                                                          7/18/2018      8/21/2018
  2                 SITE PLAN                                                            9/20/2017      8/21/2018
  3                 GRADING AND UTILITY PLAN                                             9/20/2017      8/21/2018
  4                 LIGHTING PLAN                                                        7/18/2018      8/21/2018
  5                 LANDSCAPING PLAN                                                     3/19/2018      8/21/2018
  6                 DEMOLITION PLAN                                                      7/18/2018      8/21/2018
  7                 STORMWATER MANAGEMENT PLAN                                           7/18/2018      8/21/2018
  8                 EROSION AND SEDIMENT CONTROL PLAN                                    3/19/2018      8/21/2018
  9                 EROSION AND SEDIMENT CONTROL DETAILS                                  5/1/2018      8/21/2018
  10                SITE DETAILS                                                          5/1/2018      8/21/2018
 11                 CIRCULATION PLAN                                                     7/18/2018      8/21/2018
 ARCHITECTURAL
 A 0.01             ZONING INFORMATION                                                   8/10/2018
 A 0.02             BUILDING CODE PLANS                                                  8/10/2018
 A 1.00             SITE PLAN                                                           8/10/2018
 A 1.01             SITE DETAILS                                                        8/10/2018
 A 1.10             BASEMENT FLOOR PLAN                                                 8/10/2018
 A I.IOS            BASEMENT EDGE OF SLAB PLAN                                          8/10/2018
 A 1.11            GROUND FLOOR PLAN                                                    8/10/2018
 Al.llS            GROUNG FLOOR EDGE OF SLAB PLAN                                       8/10/2018
 A 1.12            SECOND FLOOR PLAN                                                    8/10/2018
 A1.12S            SECOND FLOOR EDGE OF SLAB PLAN                                       8/10/2018
 A 1.13            THIRD FLOOR PLAN                                                     8/10/2018
 A 1.13S           THIRD FLOOR EDGE OF SLAB PLAN                                        8/10/2018
 A 1.14            ROOF PLAN                                                            8/10/2018
A 1.14S            ROOF EDGE OF SLAB PLAN                                               8/10/2018
A 2.00             BUILDING ELEVATIONS                                                  8/10/2018
A 2.01             BUILDING ELEVATIONS                                                  8/10/2018
A 3.00             BUILDING SECTIONS                                                    8/10/2018
A 3.01             BUILDING SECTIONS                                                    8/10/2018
A 3.02             BUILDING SECTIONS                                                    8/10/2018
A 3.10             WALL SECTIONS                                                        8/10/2018
A 3.11             WALL SECTIONS                                                        8/10/2018
A 3.12             WALL SECTIONS                                                        8/10/2018
A 4.00             BATHROOM PLANS & DTLS                                                8/10/2018
A 5.00             FOUNDATION DETAILS                                                   8/10/2018
A 5.10             EXTERIOR WALL DETAILS                                                8/10/2018
A 5.11             EXTERIOR WALL DETAILS                                                8/10/2018
A 5.12             EXTERIOR DETAILS                                                     8/10/2018
A 5.20             ROOF & PARAPET DETAILS                                               8/10/2018
A 5.21             ROOF & PARAPET DETAILS                                               8/10/2018
A 5.30             PLAN DETAILS                                                         8/10/2018
A 5.31             PLAN DETAILS                                                         8/10/2018
  Case 22-10609-amc       Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                           Desc
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                                             CONTRACT DOCUMENTS
                                                    Exhibit "8"
                                  PROJECT / LOCATiON: Wright Partners, Media, PA
  SHEET #      SHEET NAME                                                           ISSUED      LAST REVISED
  A 5.50       CURTAIN WALL DETAILS                                                 8/10/2018
  A 5.51       CURTAIN WALL DETAILS                                                 8/10/2018
  A 6.00       STAIR 1 / ELEVATOR PLANS                                             8/10/2018
  A 6.01       STAIR 1 / ELEVATOR SECTIONS                                          8/10/2018
  A 6.02       STAIR 1 DETAILS                                                      8/10/2018
 A 6.03        STAIR 2 PLANS                                                        8/10/2018
 A 6.04        STAIR 2 DETAILS                                                      8/10/2018
 A 6.05        STAIRS PLANS                                                         8/10/2018
 A 6.06        STAIR 3 DETAILS                                                      8/10/2018
 A 6.07        STAIRS DETAILS                                                       8/10/2018
 A 7.00        INTERIOR ELEVATIONS                                                  8/10/2018
 A 7.01        INTERIOR ELEVATIONS                                                  8/10/2018
 A 7.02        INTERIOR ELEVATIONS                                                  8/10/2018
 A 7.03        INTERIOR ELEVATIONS                                                 8/10/2018
 A 7.10        INTERIOR DETAILS                                                    8/10/2018
 A 7.20        MILLWORK                                                            8/10/2018
 A 7.21        MILLWORK                                                            8/10/2018
 A 7.22        MILLWORK                                                            8/10/2018
 A 7.23        MILLWORK                                                            8/10/2018
 A 7.24        MILLWORK                                                            8/10/2018
 A 7.25        MILLWORK                                                            8/10/2018
 A 7.26        MILLWORK                                                            8/10/2018
 A 7.27        MILLWORK                                                            8/10/2018
A 8.00        RCP - BASEMENT                                                       8/10/2018
A 8.01        RCP-GROUND FLOOR                                                     8/10/2018
A 8.02        RCP - SECOND FLOOR                                                   8/10/2018
A 8.03        RCP-THIRD FLOOR                                                      8/10/2018
A 8.10        CEILING DETAILS                                                      8/10/2018
A 9.00        RM SCHEDULE &PTN TYPE                                                8/10/2018
A 9.10        DOOR SCHEDULE, FRAME TYPES, & DTLS                                   8/10/2018
A 9.30        CURTAIN WALL SCHEDULE                                                8/10/2.018
A 9.31        CURTAIN WALL SCHEDULE                                                8/10/2018
STRUCTURAL
so.o          GENERAL NOTES                                                        8/10/2018
SO.l          SPECIAL INSPECTIONS                                                  8/10/2018
51.0      .   FOUNDATION PLAN                                                      8/10/2018
S 1.1         GROUND FLOOR FRAMING PLAN                                            8/10/2018
S1.2          SECOND FLOOR FRAMING PLAN                                            8/10/2018
S 1.3         THIRD FLOOR FRAMING PLAN                                             8/10/2018
S1.4          GLULAM ROOF FRAMING PLAN                                             8/10/2018
S1.5          HIGH ROOF FRAMING PLAN                                               8/10/2018
S2.0          SCHEDULES                                                            8/10/2018
5 3.0         TYPICAL FOUNDATION DETAILS                                           8/10/2018
S3.1          TYPICAL CONCRETE DETAILS                                             8/10/2018
S5.0          TYPICAL STEEL DETAILS                                                8/10/2018
55.1          TYPICAL STEEL DETAILS                                                8/10/2018
SHEET#        SHEET NAME                                                           ISSUED       LAST REVISED
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                                                 CONTRACT DOCUMENTS
                                                       Exhibit "B"
                                      PROJECT /LOCATION: Wright Partners, Media, PA
  S 5.2            TYPICAL STEEL DETAILS                                               8/10/2018
 S5.3              STEEL DETAILS                                                       8/10/2018
 S5.4              STEEL DETAILS                                                       8/10/2018
 S5.5              STEEL DETAILS                                                       8/10/2018
 S5.6              STEEL DETAILS                                                      8/10/2018
 S5.7              STEEL DETAILS                                                      8/10/2018
 MECHANICAL
 HCS               HVAC COVER SHEET                                                   8/10/2018
 H3.0              HVAC PLANS                                                         8/10/2018
 H3.1              HVACPLANS                                                          8/10/2018
 H3.2              HVAC PLAN - ROOF                                                   8/10/2018
 H7.0              HVACSCHEDULES                                                      8/10/2018
 H9.0              HVAC DETAILS                                                       8/10/2018
 ELECTRICAL
 ECS               ELECTRICAL COVER SHEET                                             8/10/2018
 E 3.0             ELECTRICAL BASEMENT AND GROUND FLOOR LIGHTING PLANS                8/10/2018
 E3.1             ELECTRICAL SECOND AND THIRD FLOOR LIGHTING PLANS                    8/10/2018
 E4.0             ELECTRICAL BASEMENT AND GROUND FLOOR POWER PLANS                    8/10/2018
 E4.1             ELECTRICAL SECOND AND THIRD FLOOR POWER PLANS                       8/10/2018
 E4.2             ELECTRICAL ROOF PLAN                                                8/10/2018
 E6.0             ELECTRICAL SINGLE LINE DIAGRAM AND PANEL SHCEDULES                  8/10/2018
E6.1              ELECTRICAL FIRE ALARM RISER DIAGRAM AND CALCULATIONS                8/10/2018
E6.2              ELECTRICAL FIRE ALARM CUT SHEETS                                    8/10/2018
E7.0              ELECTRICAL LIGHTING FIXTURE SCHEDULE                                8/10/2018
E7.1              ELECTRICAL CONNECTION SCHEDULE                                      8/10/2018
PLUMBING
PCS               PLUMBING COVER SHEET                                                8/10/2018
P3.0              PLUMBING SANITARY PLANS                                             8/10/2018
P3.1              PLUMBING SANITARY PLANS                                             8/10/2018
P3.2              PLUMBING SANITARY PLANS                                             8/10/2018
P4.0              PLUMBING DOMESTIC WATER PLANS                                       8/10/2018
P4.1              PLUMBING DOMESTIC WATER PLANS                                       8/10/2018
P6.0              PLUMBING SANITARY RISER DIAGRAM                                     8/10/2018
P6.1              PLUMBING RISER DIAGRAMS                                             8/10/2018
P7.0              PLUMBING SCHEDULES                                                  8/10/2018
P9.0              PLUMBING DETAILS                                                    8/10/2018
FIRE PROTECTION
FPCS              FIRE PROTECTION COVER SHEET                                         8/10/2018
FP3.0             FIRE PROTECTION PLANS                                               8/10/2018
FP3.1             FIRE PROTECTION PLANS                                               8/10/2018
FP 9,0            FIRE PROTECTION DETAILS                                             8/10/2018
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 EXHIBIT "C" - Assumptions, Clarifications and Exclusions




    ScungiO'C’Borst          ‘^CONSTRUCTION MANAGEMENT
 WRIGHT PARTNERS OFFICE BUILDING                                                                                               9/23/2020

 ASSUMPTIONS, EXCLUSION, AND CLARIFICATIONS
             We believe this proposal to be prepared and submitted in accordance with the contract documents. It is our
             sole intention, to comply with the contract drawings as prepared by Bohlin Cywinski Jackson, during the
             construction of this project. Notwithstanding the items listed below;
             EXCLUSIONS
             The following items are specifically excluded from this quotation unless noted otherwise.

         1                The identification, testing, handling, remediation or disposal of any hazardous materials.
         2                PADOT or Local Police Traffic Safety charges or fees.
         3                Architectural and other Design fees
         4                Permits or impact fees
         5                Elevator Operator costs/fees if required
         6                Geotechnical Inspections.
         7                Costs for any utility relocation not identified on plans.
         8                Signage other than ADA
         9                Engineering stamps or approvals.
        10               General Contractor Payment and Performance Bond.
        11               Sewer and tap fees.
        12              Reinforcing not shown on plans
        13              Tele/data Systems or CaWing
        14              Security Systems or Cabling
        15              Furniture
       16               Utility work not listed on the drawings.
       17               AA/ or Cabling
       18              Off Hours Work
       19              Sauna and Plunge seating and stair platform around tubs. No details is shown on A7.00 and A7.01
       20              Furnish and install lockers in basement at locker room. No lockers details is shown
       21              Furniture
       22              Furnish and install kitchen cabinets and countertops
       23              Furnish and install base and wall cabinets and countertops at supply room, open office and conference
       24              Furnish and install solid wood millwork shelves at library
       25              Furnish and install bookcase
       26              Furnish and install office desk and workstation
       27              Furnish and install all millwork, casework, bench, maple veneer at Cabana as shown per KI.22
       28              Furnish and install kitchen bar as shown per A7.27
       29              Appliances
       30              Furnish and install maple wood veneer
       31              Furnish and install fabric panels
       32              Furnish and install all millwork, casework, bench, maple wood veneer, cushions al bench as shown per
       33              Exlenor Mechanical Enclosure
       34              Millwork and panels at Fireplace




            ASSUMPTIONS
            We have assumed the following issues to be part of the understanding of the scope of work.

       1              This Proposal was based on non union labor.
       2              Bid assumes site concrete and steel completed before January 2021
       3              We have included an allowance of $4,500 to furnish and install light integrated mimors at bathroom
       4   We have included an unit cost allowance of $42 per square foot to furnish and install New Cambrian Black
         Granite Stone Veneer
       5             We have included drywall finish level 4 only. See Alternate Number #2
       6             We have assumed that site, concrete and steel to be completed before Januaray 2021
       7             We have included the 2nd floor stair with wood treads and handrail, but not the casework attached.
       8 On 9/23/20 Wright Partners removed from the original bid.budget values Temporary Protection, OSHA
         Protection, Temp water and Temp electric. These items are at zero value in this agreement and will be
         paid by owner directly or via change order if necessary.
       9 Temporary Construction Office is being secured and paid by owner as the trailer values were also removed
            bid/budget and will be available for SBA's use within one week of Owner's Notice to Proceed.
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EXHIBIT "D" - Contract Alternates

      ALTERNATES

  1   Winter Concrete Allowance                                                                    ADD     $32,000
  2   Delete Areaway                                                                               DEDUCT  ($14,580)
  3   Delete Granite Veneer and replace with Stucco at West elevation 2/A2.01                      DEDUCT  ($63,365)
  4   Furnish and Install Drywall finish level 5 in accordance with specifications                 ADD      $9,000
  5   Convert Welded Connections to Bolted Connections                                             DEDUCT NOTACCEPTED
  g   Utilize alternate Metal Deck Material 2VLI-20 gauge, 3VLI-20 gauge and 3NL-18 gauge I.L.O.
      originally specified Metal Deck                                                              DEDUCT   $(18,577.00)
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  EXHIBIT "E" - Project Schedule
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  This Agreement entered into as of ths day and year first written above.




   OWNER (SignalM-eJ

                                                                 « »« »                  ‘
   (Printed nme and tidej                                        (PrifUad iiamemd iitlei     __ ,




U6or Notoj?;
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       EXHIBIT "A" - Proposal Breakdown
       General Conditions and Staffing


            ScungioC-Borst    ^CONSTRUCTION MANAGEMENT
                                                                                                                                        SCUNGIO BORST & ASSOCIATES
                                                                                                                                             2 RIVERSIDE DRIVE, SUITE 500
                                                                                                                                                        CAMDEN, NJ. 08103

                                               " WRIGHT PARTNERS OFFICE BUILDING...............................................................

                                                           MEDIA, PENNSYLVANIA
                                                        CONSTRUCTION PROPOSAL
                                                              September 23, 2020
                PROPOSAL FORM
              - Trade Description                       Estimated Value                       Proposed Sub*Contractor(s) to be supplied at award                                % cost
       1        GENERAL REQUIREMENTS                         $26,021              :                             Dumpsters, Cleanup, OSHA, Survey                                0.91%

                                                                           $0 .                                     Temporary Fence & Signago

                                                       ___________ $6.Q0Q ■                                               Survey / Layout

                                                       __________ $14,400 -                                                  Dumpsters

                                                        ___________ 52.521                                                    Cleanup

                                                                       S3.100;                            Plans, Documentation, Document Management
  • 1.1        ■PERMIT COST                                    NIC                                                          Perinl t Costs                                      0.00%
      1.2      TEMPORARY MEASURES                            $15,140                                                 Temporary Construction                                     0.53%

                                                                           $0                                          Temporary Measures

                                                       _______________                                               Temporary Power / Water

                                                       ___________ $8.740                                         Temporary Toilets, Temp Office

                                                                       $6,400 ■                   Site Safety Supplies, Fire Extinguishers, First Aid, Small Tools
   2.1         DEMOLITION                                      NIC                                                          Demolition
                                                                                                                                                                     __
   2.2         SITEWORK                                     $253,270                                           Grading, Utilities, Excavation, Paving                           8.89%
   2.3         FENCING                                                                                                                                                    ■     0.00%
                                                                                ______                                        Fencing
   2.4         LANDSCAPING                                                      ________                               Landscaping, Pavers                                      0.00%

               CONCRETE                                     $206,000                                                         Concrete                                     .     7.23%
               MASONRY                                      $146,433                                                         Masonry
              METAL                                         $270,750                      ■                       Structural Steel, Mise. Metals                                9.51%

                                                            $28,900                                                           Railing                                     ••    1-01%

                                                            $48,900                                               Welded Moment Connections                                     1.72%
' 8.1         WOOD                                         IN FRAMING                                                         GluLam                                            0.00%
  8.2         ■IPE DECK                                        NIC                        ■                                  By Owner'                                          0.00%
  7.1         THERMAL & MdSTDRE PROTECTION                  $116,988                                           Roofing, Joint Sealants, Air Barrier                             4.11%
  7.2         EIFS                                             $0                                                              EIFS
  8.1         DOORS                                         $41,500                                                 Doors, Frames, Hardware                                     1.46%
  8.2       ■ GLASS/GLAZING                           _____83^63_____                                          Glass/Glazlng System, Glass Doors                               11.58%
‘ 9.1         GWB/FRAMING                                   $412,000                                             Framing, Insulation, Carpentry                                14.47%
  9.2        ■FLOORING                                       In Tile                                                 Wood Flooring & Vinyl                            :         0.00%
. 9.3       ■ ;TlLE                                         $84,450                   ;                                         Tile                                            2.97%
 9.2          PAINTING                                     BY OWNER                                                          Painting                                 ■         0.00%
' 10.0       ;MISC ACCESSORIES                              $8,527                                           Tackboard Toilet Accessories, Signage                    .         0.30%
 I**         VERTICAL TRANSFORATION                        $104,995                   ,                                      Elevator                                           3.69%
 15.1         HVAC                                         $196,000                                                           HVAC                                    ■         6.88%

 15.2        PLUMBING                                       $67,920                                                           Stub In                                 '         2.38%
 15.3        SPRINKLER                                      $41,133                                                      Fire Protection                                        1.44%
 16         : ELECTRICAL                                   $116,000                                                Power/Service, Fire Alarm                          .         4.04%
             .SUBTOTAL                                    $2,513,689

             CONTINGENCY                                      NIC                                                          BY OWNER                                             0.00%
             GENERAL CONDITIONS                            $185,566                                     General Conditions Actual Rate Oversight Mgnt                __        6.52%
             INSURANCE                                      $19,797                                                     General Liabilty                                       0.70%
            . TAXES                                          $798                                                           Sales Tax                                          0.03%
             OVERHEAD & PROFIT                             $128,067                                                     Fee & Overhead                                         4.50%


             BASE PROPOSAL TOTAL                        $2,847,916                                                                                                             100.00%
 Case 22-10609-amc                                                              Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                                                                                                                             Desc
                                                                                      Exhibit A Page 39 of 62
           EXHIBIT "A" - Proposal Breakdown
           General Conditions and Staffing
           MKMECT:                                                                                                                                          4633 GftOSSSF                                                                          l227Phl
           PROTECT DURATION.                                   OUOMO                                                                                    2.847.1X1) ESTIMAIEOCOST
                                                                              -LABOR-                           —MATERlAl.
           CeSCRRTlON                                      QUANTITY             PRICE     EXTENSION               PRICE        EXTENSION                      TOTAL                REIWRKS
           ?I1 PROJECT STAFF
        pn;        PROJECT VANAGER.BU&Cwe             '       034.4 HR            70              52,774                                                     52,774
        PUT        PROJECrENGWEER                     '       1738 HR             37               6.4U                                                       6,423
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        »IIS       ATTOFNEy                                     no HR
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        Ans        SECRETJIRTORCLERK                            ao HR                                 0                                          0
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                   VARIABLE PERSONHEt O«                     OOCO)
                   SECRETARKLSUPPORT                         0.(009                                         0                                                            0

                   lOTAl PROJECT STJiFF                                                       ^8                                                0            67,518                       Si.4« IMO                   510.18 JSF       laZY. OF COST


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         3114      ORPENIER                                             WX                                                                                              0
        »11J       LAaORERFCREUIN                                       WK                                0                                     0                       0
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                  total FlElOSTAFF                                                          119.048                                                      ■ 18.048                       814.758 11.10                 SI7.8O ISF
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       122     VASTER3CCHANIC                                           WK                                0
       123    TEAMSTEROCOCR                                             WK                                                                   Q
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>0174     PLAKGRiO                                                MO                          0                  .-£0                0                       g               oosETsa wcRK>x3 seis
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 0174     AS-BUILrC«AVJ»X5S                                       IS                          g                                     0
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j____        ■OTAL GEKRAL COlOiriONS                                                    165.568                                     0                I0S.5CC                      S23.15O IWO                $2199/SF               662Y. QFCOSl
   Case 22-10609-amc              Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                        Desc
                                        Exhibit A Page 40 of 62
                                                   CONTRACT DOCUMENTS
                                                          Exhibit "B"
                                        PROJECT / LOCATION: Wright Partners, Media, PA
   SHEET#             SHEET NAME                                                          ISSUED      LAST REVISED
   Specifications     Wright Partners Project Manual - Sections 1 to 28                   3/30/2018
   CSl                COVER SHEET                                                         8/10/2018
   CS2                ABBREVIATIONS & INSTALLATION STANDARDS                              8/10/2018
   CIVIL
   1                  COVER SHEET                                                         7/18/2018      8/21/2018
   2                  SITE PLAN                                                           9/20/2017      8/21/2018
  3                   GRADING AND UTILITY PLAN                                            9/20/2017      8/21/2018
  4                   LIGHTING PLAN                                                       7/18/2018      8/21/2018
  5                   LANDSCAPING PLAN                                                    3/19/2018      8/21/2018
  6                  DEMOLITION PLAN                                                      7/18/2018      8/21/2018
  7                  STORMWATER MANAGEMENT PLAN                                           7/18/2018      8/21/2018
  8                  EROSION AND SEDIMENT CONTROL PLAN                                    3/19/2018      8/21/2018
  9                  EROSION AND SEDIMENT CONTROL DETAILS                                  5/1/2018      8/21/2018
  10                 SITE DETAILS                                                          5/1/2018      8/21/2018
  11                 CIRCULATION PLAN                                                     7/18/2018      8/21/2018
  ARCHITECTURAL
 A 0.01              ZONING INFORMATION                                                   8/10/2018
 A 0.02              BUILDING CODE PLANS                                                  8/10/2018
 A 1.00              SITE PLAN                                                            8/10/2018
 A 1.01              SITE DETAILS                                                        8/10/2018
 A 1.10              BASEMENT FLOOR PLAN                                                 8/10/2018
 A I.IOS             BASEMENT EDGE OF SLAB PLAN                                          8/10/2018
 A 1.11              GROUND FLOOR PLAN                                                   8/10/2018
 Al.llS              GR0UN6 FLOOR EDGE OF SLAB PLAN                                      8/10/2018
 A 1.12              SECOND FLOOR PLAN                                                   8/10/2018
 A1.12S              SECOND FLOOR EDGE OF SLAB PLAN                                      8/10/2018
 A 1.13             THIRD FLOOR PLAN                                                     8/10/2018
 fi. 1.13S          THIRD FLOOR EDGE OF SLAB PLAN                                        8/10/2018
 A 1.14             ROOF PLAN                                                            8/10/2018
 A 1.14S            ROOF EDGE OF SLAB PLAN                                               8/10/2018
 A 2.00      -      BUILDING ELEVATIONS                                                  8/10/2018
A 2.01              BUILDING ELEVATIONS                                                  8/10/2018
A 3.00              BUILDING SECTIONS                                                    8/10/2018
A 3.01              BUILDING SECTIONS                                                    8/10/2018
A 3.02              BUILDING SECTIONS                                                    8/10/2018
A 3.10              WALL SECTIONS                                                        8/10/2018
A 3.11              WALL SECTIONS                                                        8/10/2018
A 3.12              WALL SECTIONS                                                        8/10/2018
A 4.00              BATHROOM PLANS & DTLS                                                8/10/2018
A 5.00              FOUNDATION DETAILS                                                   8/10/2018
A 5.10              EXTERIOR WALL DETAILS                                                8/10/2018
A 5,11              EXTERIOR WALL DETAILS                                                8/10/2018
A 5.12              EXTERIOR DETAILS                                                     8/10/2018
A 5.20              ROOF & PARAPET DETAILS                                               8/10/2018
A 5.21              ROOF & PARAPET DETAILS                                               8/10/2018
A 5.30              PLAN DETAILS                                                         8/10/2018
A 5.31              PLAN DETAILS                                                         8/10/2018
  Case 22-10609-amc    Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                            Desc
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                                            CONTRACT DOCUMENTS
                                                   Exhibit "8"

                                 PROJECT / LOCATION: Wright Partners, Media, PA
  SHEET#       SHEET NAME                                                          ISSUED       LAST REVISED
  A 5.50       CURTAIN WALL DETAILS                                                8/10/2018
  A 5.51       CURTAIN WALL DETAILS                                                8/10/2018
  A 6.00       STAIR 1/ELEVATOR PLANS                                              8/10/2018
  A 6.01       STAIR 1 / ELEVATOR SECTIONS                                         8/10/2018
  A 6.02      STAIR 1 DETAILS                                                      8/10/2018
  A 6.03      STAIR 2 PLANS                                                        8/10/2018
  A 6.04      STAIR 2 DETAILS                                                      8/10/2018
 A 6.05       STAIR 3 PLANS                                                        8/10/2018
 A 6.06       STAIR 3 DETAILS                                                      8/10/2018
 A 6.07       STAIR 3 DETAILS                                                      8/10/2018
 A 7.00       INTERIOR ELEVATIONS                                                  8/10/2018
 A 7.01       INTERIOR ELEVATIONS                                                  8/10/2018
 A 7.02       INTERIOR ELEVATIONS                                                 8/10/2018
 A 7.03       INTERIOR ELEVATIONS                                                 8/10/2018
 A 7.10       INTERIOR DETAILS                                                    8/10/2018
 A 7.20       MILLWORK                                                            8/10/2018
 A 7.21       MILLWORK                                                            8/10/2018
 A 7.22       MILLWORK                                                            8/10/2018
 A 7.23       MILLWORK                                                            8/10/2018
 A 7.24       MILLWORK                                                            8/10/2018
 A 7.25       MILLWORK                                                            8/10/2018
 A 7.26       MILLWORK                                                            8/10/2018
 A 7.27       MILLWORK                                                            8/10/2018
 A 8.00       RCP - BASEMENT                                                      8/10/2018
A 8.01        RCP-GROUND FLOOR                                                    8/10/2018
A 8.02        RCP - SECOND FLOOR                                                  8/10/2018
A 8.03        RCP-THIRD FLOOR                                                     8/10/2018
A 8.10        CEILING DETAILS                                                     8/10/2018
A 9.00        RM SCHEDULE & PTN TYPE                                              8/10/2018
A 9.10        DOOR SCHEDULE, FRAME TYPES, & DTLS                                  8/10/2018
A 9.30       CURTAIN WALL SCHEDULE                                                8/10/2018
A 9.31       CURTAIN WALL SCHEDULE                                                8/10/2018
STRUCTURAL
so.o         GENERAL NOTES                                                        8/10/2018
SO.l         SPECIAL INSPECTIONS                                                  8/10/2018
Sl.O         FOUNDATION PLAN                                                      8/10/2018
Sl.l         GROUND FLOOR FRAMING PLAN                                            8/10/2018
S1.2         SECOND FLOOR FRAMING PLAN                                            8/10/2018
S1.3         THIRD FLOOR FRAMING PLAN                                             8/10/2018
S1.4         GLULAM ROOF FRAMING PLAN                                             8/10/2018
S1.5         HIGH ROOF FRAMING PLAN                                               8/10/2018
S2.0         SCHEDULES                                                            8/10/2018
S3.0         TYPICAL FOUNDATION DETAILS                                           8/10/2018
S3.1         TYPICAL CONCRETE DETAILS                                             8/10/2018
S5.0         TYPICAL STEEL DETAILS                                                8/10/2018
S5.1         TYPICAL STEEL DETAILS                                                8/10/2018
SHEET#       SHEET NAME                                                           ISSUED       LAST REVISED
  Case 22-10609-amc         Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                        Desc
                                  Exhibit A Page 42 of 62
                                                 CONTRACT DOCUMENTS
                                                        Exhibit "B"

                                      PROJECT / LOCATiON: Wright Partners, Madia, PA
  S 5.2            TYPICAL STEEL DETAILS                                                8/10/2018
  S5.3             STEEL DETAILS                                                        8/10/2018
  S5.4             STEEL DETAILS                                                        8/10/2018
 S5.5              STEEL DETAILS                                                        8/10/2018
 S5.6              STEEL DETAILS                                                        8/10/2018
 S5.7              STEEL DETAILS                                                       8/10/2018
 MECHANICAL
 HCS               HVAC COVER SHEET                                                    8/10/2018
 H3.0              HVAC PLANS                                                          8/10/2018
 H3.1              HVAC PLANS                                                          8/10/2018
 H3.2              HVAC PLAN - ROOF                                                    8/10/2018
 H7.0              HVACSCHEDULES                                                       8/10/2018
 H9.0              HVAC DETAILS                                                        8/10/2018
 ELECTRICAL
 ECS               ELECTRICAL COVER SHEET                                              8/10/2018
 E3.0              ELECTRICAL BASEMENT AND GROUND FLOOR LIGHTING PLANS                 8/10/2018
 E3.1              ELECTRICAL SECOND AND THIRD FLOOR LIGHTING PLANS                    8/10/2018
 E4.0             ELECTRICAL BASEMENT AND GROUND FLOOR POWER PLANS                     8/10/2018
 E4.1             ELECTRICAL SECOND AND THIRD FLOOR POWER PLANS                        8/10/2018
 E4.2             ELECTRICAL ROOF PLAN                                                 8/10/2018
 E6.0             ELECTRICAL SINGLE LINE DIAGRAM AND PANEL SHCEDULES                   8/10/2018
E6.1              ELECTRICAL FIRE ALARM RISER DIAGRAM AND CALCULATIONS                 8/10/2018
E6.2              ELECTRICAL FIRE ALARM CUT SHEETS                                     8/10/2018
E7.0              ELECTRICAL LIGHTING FIXTURE SCHEDULE                                 8/10/2018
E7.1              ELECTRICAL CONNECTION SCHEDULE                                       8/10/2018
PLUMBING
PCS               PLUMBING COVER SHEET                                                 8/10/2018
P3.0              PLUMBING SANITARY PLANS                                              8/10/2018
P3.1              PLUMBING SANITARY PLANS                                              8/10/2018
P3.2              PLUMBING SANITARY PLANS                                              8/10/2018
P4.0              PLUMBING DOMESTIC WATER PLANS                                        8/10/2018
P4.1              PLUMBING DOMESTIC WATER PLANS                                        8/10/2018
P 6.0             PLUMBING SANITARY RISER DIAGRAM                                      8/10/2018
P6.1              PLUMBING RISER DIAGRAMS                                              8/10/2018
P7.0              PLUMBING SCHEDULES                                                   8/10/2018
P9.0              PLUMBING DETAILS                                                     8/10/2018
FIRE PROTECTION
FP CS             FIRE PROTECTION COVER SHEET                                          8/10/2018
FP3.0             FIRE PROTECTION PLANS                                                8/10/2018
FP3.1             FIRE PROTECTION PLANS                                                8/10/2018
FP9.0             FIRE PROTECTION DETAILS                                              8/10/2018
Case 22-10609-amc                      Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                                         Desc
                                             Exhibit A Page 43 of 62
 EXHIBIT "C" - Assumptions, Clarifications and Exclusions




    Scungio<^ Borst           •^CONSTRUCTION MANAGEMENT
 WRIGHT PARTNERS OFFICE BUILDING                                                                                                9/23/2020

 ASSUMPTIONS, EXCLUSION, AND CLARIFICATIONS
              We believe this proposal to be prepared and submitted in accordance with the contract documents. It is our
              sole intention, to comply with the contract drawings as prepared fay Bohlin Cywinski Jackson, during the
              construction of this project. Notwithstanding the items listed below:
              EXCLUSIONS
              The following items are specifically excluded from this quotation unless noted otherwise.

          1                 The identification, testing, handling, remediation or disposal of any hazardous materials.
         2                  PADOT or Local Police Traffic Safety charges or fees.
          3                 Architectural and other Design fees
         4                  Permits or impact fees
         5                  Elevator Operator oosts/fees if required
         6                  Geotechnical Inspections.
         7                  Costs for any utility relocafion not identified on plans.
         8                  Signage other than ADA
         9                  Engineering stamps or approvals.
        10               General Contractor Payment and Performance Bond.
        11               Sewer and tap fees.
        12               Reinforcing not shown on plans
        13               Tele/data Systems or Cabling
        14               Security Systems or Cabling
        15               Furniture
        16               Utility work not listed on the drawings.
        17               /W or Cabling
        18               Off Hours Work
        19              Sauna and Plunge seating and stair platform around tubs. No details is shown on A7.00 and A7.01
       20               Furnish and install lockers in basement at tocker room. No lockers details is shown
       21               Furniture
       22               Furnish and install kitchen cabinets arrd countertops
       23               Furnish and install base and wall cabinets and countertops at supply room, open ofiice and conference
       24               Furnish and install solid wood millwork shelves at library
       25               Furnish and install bookcase
       26               Furnish and install ofiice desk and workstation
       27               Furnish and install all millwork, casework, bench, maple veneer at Cabana as shown per KI32
       28               Furnish and install kitchen bar as shown per KI.TI
       29               Appliances
       30               Furnish and install maple wood veneer
       31               Furnish and install fabric panels
       32               Furnish and install all millwork, casework, bench, maple wood veneer, cushions at bench as shown per
       33               Exterior Mechanical Enclosure
       34               Millwork and panels at Fireplace




            ASSUMPTIONS
            We have assumed the following issues to be part of the understanding of the scope of work.

       1             This Proposal was based on non union labor.
       2             Bid assumes site concrete and steel completed before January 2021
       3             We have included an allowance of $4,500 to furnish and install light integrated mirrors at bathroom
       4   We have included an unit cost allowance of $42 per square foot to furnish and install New Cambrian Black
         Granite Stone Veneer
       5             We have included drywall finish level 4 only. See Alternate Number #2
       6             We have assumed that site, concrete and steel to be completed before Januaray 2021
       7            We have included the 2nd floor stair with wood treads and handrail, but not the casework attached.
       8 On 9/23/20 Wright Partners removed from the original bid.budget values Temporary Protection, OSHA
         Protection, Temp water and Temp electric. These items are at zero value in this agreement and will be
         paid by owner directly or via change order if necessary.
       9 Temporary Construction Ofiice is being secured and paid by owner as the frailer values were also removed
           bid/budget and will be available for SBA's use within one week of Owner’s Notice to Proceed.
       Case 22-10609-amc              Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                         Desc
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EXHIBIT "D" - Contract Alternates

      ALTERNATES

  1    Winter Concrete Allowance                                                                 ADD     $32,000
  2    Delete Areaway                                                                            DEDUCT  ($14,580)
  3    Delete Granite Veneer and replace with Stucco at West elevation 2/A2.01                   DEDUCT  ($63,365)
  4    Furnish and Install Drywall finish level 5 in accordance with specifications              ADD      $9,000
  5    Convert Welded Connections to Bolted Connections                                          DEDUCT NOT ACCEPTED
    Utilize alternate Metal Deck Material 2VLI-20 gauge, 3VLI-20 gauge and 3NL-18 gauge I.L.O.
  ” originally specified Metal Deck                                                              DEDUCT   $(18,577.00)
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                                 Exhibit A Page 45 of 62
  EXHIBIT "E" - Project Schedule
Case 22-10609-amc                       Doc 6-1 Filed 03/11/22 Entered 03/11/22 15:22:39                                                          Desc
                                              Exhibit A Page 46 of 62



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    AlA® Document A104" -2017

    This Additions and Deletions Report, as defined on page 1 of the associated document, reproduces below all text the author has added
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    PAGE1

   AGREEMENT made as of the 23rd day of October in the year 2020




   East Third Media, LLC
   P.O. Box 1908
   Media, PA 19063
   (610)566-0270



   Scungio Borst Associates Construction Management
   One Port Center, 2 Riverside Drive, Suite 500
   Camden, NJ 08103
   (856)757-0100



  Wright Partners Headquarters
  30 East 3rd Street
  Media, PA 19063
  Construction of Office Building for Wright Partners new headquarters



  Bohlin Cvwinski Jackson
  1100 Ludlow Street
  Suite 600
  Philadelphia, PA 19107
  215,790.5900
  PAGE 3

         [ XJ    A date set forth in a notice to proceed issued by the Owner.
         NTP to be issued by Friday, October 23, 2020



         ( Xj       Not later than (—two hundred and five( 205 ) calendar days from the date of commencement of the
                    Work.




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               Building Ready for Interior Finishes                      May 21, 2021


          If the Contractor fails to achieve Substantial Completion as provided in this Seotien-3^3-,-liquidated damages, if
   aa-yr^hall be assessed-as set forth in Section 3.5.



           [ X]        Cost of the Work plus the Contractor’s Fee with a Guaranteed Maximum Price, in accordance with
                       Section 3.4 below



   §      The Stipulated Sum-shall be—(S—subject to additions and deductions-as-pr-ovided in the Contract Documents.

   §■ 3.2.1 The Stipulated-Sum-is-based upon the following-alternates, if any<which are described in the Contract
   Documents-and are hereby accepted by the-Owner:
   (State tho numbers or other identification ofaccepted altornatas. Ifthe-bidding or-proposal documents permit the
   Owner to accept other-alternates subsequentto the execution ofthis Agreoment-attach a-schedule ofsuch other
   alternates showing the-amount-for each and-lhe-date-when that amount expires.)



  g-ia^-Unit prices, if any:
  (klentifgthc item and state the unit-price and the quantity limitations, ifany, to which the-unit-priee-^vdl-be
  applicable.)

              IlClII                                                     Units and Limitation:                Price per Unit ($0.00)
  PAGE 4

  § 3.2.3-Allewanees, if-any^-included in the stipulated sum:
  (Identify each allowance.)

              ttetn                                                     Price



  §-3;3 Gost of the Work Plus Contractor’s Fee
  § 3;3.1 The Cost of the-Werk is as defined in Exhibit A, Determination of the Cost of the Work.

 §-3^-The Contractor’s Fee:
 (State a lump sum, percentage of Cost of the Work or other provision for determining the Gontraetor’s Pee and the
 method of adjustment to the Fee for changes in-the Work.)



 § 3.4.2 The Contractor’s Overhead and Fee:
 (State a lump sum, percentage of Cost ofthe IVork or other provision for determining the Contractor’s Overhead and
 Fee and the method of adjustment to the Overhead and Fee for changes in the Work.)

 Four and one half percent of the Cost of the Work (4.5%)



 § 3.4.3.1 The sum of the Cost of the Work and the Contractor’s Fee is guaranteed by the Contractor not to exceed Two
 Million Eight Hundred Forty Seven Thousand Nine Hundred Sixteen Dollars ($ 2.847.916.00 ). subject to additions
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    and deductions by changes in the Work as provided in the Contract Documents. This maximum sum is referred to in
   the Contract Documents as the Guaranteed Maximum Price. Costs which would cause the Guaranteed Maximum
   Price to be exceeded shall be paid by the Contractor without reimbursement by the Owner.
   {hisert-specific provisions iftho Gontractor is to participate in anysavings.)
             1. All Savings achieved by the Contractor will initially be used to create a Contractor’s Contingency cost
                  line item in the budget up to $28.000.00.
            2. The Contractor’s Contingency set forth above is for the use of the Contractor, as approved by the Owner,
                 to pay for miscellaneous work items which are required to complete the Project including: to cover trade
                 scope gaps, missed work in subcontractor or vendor purchasing, areas of damage that may occur
                 between trades during construction, overtime and premium time for schedule recovery, to address safety
                 items. Subcontractor coordination problems. Subcontractor coordination errors and other items
                 requested by the Contractor if approved by the Owner.
   The Contractor shall not use the Construction Contingency to pay for costs related to the following: errors or
   omissions in the Construction Documents; discrepancies with the Construction Documents pertaining to applicable
   building code requirements; and/or enhancements or additions to the Scope of Work requested by the Owner.

   In all instances, the Contractor shall prepare a narrative and accounting worksheet to obtain written approval from the
   Owner prior to using the Construction Contingency - such approval shall not be unreasonably withheld. If. upon Final
   Completion of the Project, funds are remaining in the Construction Contingency, such funds shall remain unspent and
   allocated to the Owner as a deductive change order reducing the Guaranteed Maximum Price,

  Savings in excess of the aforementioned value in 3.4.3.1.1 will immediately be returned to the Owner as a Owner
  Change Order reducing the Contract Value,



  (-State the numbers or other-ideHtifieation of accepted alternates. If the bidding or proposal documents permit the
  Owner to accept other-alternates subsequent-te the execution of this-Agreement, attach a schedule of such other
  ^emates showing the amount-for-eaelband the date when that-amount expires^
  See attached Exhibit "D" - Contract Alternates
  PAGES

              New Cambrian Black Granite Veneer                                                              $ 42.07 per SF



             Light Integrated Mirrors in Bathrooms                     $ 4.500.00

             New Cambrian Black Granite Stone                          $ 146.433.00
             Veneer



  See attached Exhibit "C" - Clarifications and Exclusions



 None



 § 4.1.1 Based upon Applications for Payment submitted-to the Architect by the Contractor and Certificates for
 Payment issued by the-Arehiteet. the and partial lien releases for Contractor, all subcontractors, sub-subcontractors
 and material suppliers submitted to the Owner by the Contractor and draw request submitted by the Owner, Owner
 shall make progress payments on account of the Contract Sum to the Contractor as provided below and elsewhere in
 the Contract Documents.


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   § 4.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
   month, et^as-f&l-lows?



   § 4.1.3 Provided that an Application for Payment is received by the Arehiteet-Owner not later than the lst_day of a
   month, the Owner shall make payment of the certified amount to the Contractor not later than the day of the ■ month.
   last day of the same month subject to Contractor submitting required partial lien releases for prior payment and Owner
   approval of requested percent complete progress payments, which shall not be reasonably withheld. If an Application
   for Payment is received by the Architect-after the date fixed above. Owner after the date fixed above or revisions to
   initial Application for Payment submission are necessary and provided to Owner in a timely fashion, payment shall be
   made by the Owner not later than forty five (45 ) days after the Architect-Owner receives the Application for
   Payment.
   {FederalrStato-or-l-eeal-laws may require payment within a certain period oftime:)

   § 4.1.4 For each progress payment made prior to Substantial Completion of the Work, the Owner may-will withhold
   retainage from the payment otherwise due as follows:

  fnsertrapercantagc or amount-to-be^vdhhcld as retainage from-each Applicationfor Payment and any terms-for
  redueti&n-ofretainage during the course of the Work-dPhe-amount ofretainage may be limited by governing -law.)

  Retainage amounting to ten percent (10%) of the value of each subcontractor’s work included in each progress
  payment until Substantial Completion. At the first Application for Payment submitted after Substantial Completion
  (as defined in section 15.6.3). retainage shall be reduced to five percent (5%) for all subcontractors and vendors.

  No retainage will beheld against Contractor’s General Conditions, Staffing, Insurance, Taxes. Overhead and Fee
  PAGES

  %—6.00% per annum



  § 4.2.1 Final payment, constituting the entire unpaid balance of the Contract Sum, shall be made by the Owner to the
  Contractor when Owner has determined that the Work has been completed and accepted by Owner



             .2     the Contractor has submitted a final accounting for the Cost of the Work, where-payment is on the basis
                    ef-the Gost of the- Work-with-er-without a Guaranteed Maximum Prioe;-andContractor having furnished
                    final lien releases to the Owner as evidence that all subcontractors, sub-subcontractors and suppliers
                    have been paid and that there are no claims, obligations or liens outstanding for labor, services,
                    materials, equipment, taxes or other items; Contractor having delivered to Owner all guarantees,
                    warranties, manuals, field records, permits, certificates, licenses, approvals and other items required by
                    the Contract Documents.
             .3     a final Certificate for Payment has been issued by the Architect in accordance with Section-1-5.7.1.of
                    Completion has been delivered to the Owner by Contractor,

 § 4.2.2 The Owner’s final payment to the Contractor shall be made no later than 30 days after the issuanee -of the
 A-rehiteet-s-final Certificate-for Payment, or as follows:Final Payment conditions above have been completed.



     120            Arbitration pursuant to Section 21.6 of this Agreement
 PAGE?

 § 6.1.2 AIA-Pooument E203™. 2013, Building Information Modeling and Digital Data Exhibit, dated as indicated
 below:
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    {Insert the-dato ofthe E203 2013 incorporaiod into (kisAgfeemcnt;)



   S-ftrlrS-The Supplementaiy and other Conditions of-the-Gantract:
                                                  Tftfp
               Doeument                           1 ILtC                             Date                               Panpg
                                                                                                                        r ayC9




   See attached Exhibit "B"



              SACiXAM
              UCMLtVf I
                                                  fide                               Date                               Pages




   See attached Exhibit "B"



              Miimhpf*                                                  Tjffp
              iiuiiiucr                                                 n itic                               Date




  § 6.1.6 The Addenda, if any:

              IIUI1 Iwtl                                               Date                                 r




                     [ XJ        Exhibit A, Determination of the Cost of the Work.

                     {—J----- AIA-Document E204TM 2017, Sustainable Projects Exhibit, dated as indicated below:
                              (Insert the-date-oftho E204 -20I7-ineorporatcd into this Agreement.)



                     {—]----- The Sustainability Plan:

                     Title                                             Date                                Pages




                     {—j----- Supplementary-and other Conditiens-ef-the Contract:

                     wWUlll&l IL                                                                           L/hIw

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                    Exhibit "C"Scope Clarifications and Exclusions
                    Exhibit "D"________Contract Alternates - Additions and Deductions
                    Exhibit "E"________ Contractor’s Planned Schedule and Sequence of Work




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   The Contract Documents are enumerated in Article 6 and consist of this Agreement (including, if applicable,
   Supplementaiy and other Conditions of the Contract), Drawings, Specifications, Addenda issued prior to the
   execution of this Agreement, other documents listed in this Agreement, and Modifications issued after execution of
   this Agreement. A Modification is (1) a written amendment to the Contract signed by both parties, (2) a Change Order,
   (3) a Construction Change Directive, or (4) a written order for a minor change in the Work issued by the Architeet.-
   Owner. The intent of the Contract Documents is to include all items necessary for the proper execution and completion
   of the Work by the Contractor. The Contract Documents are complementary, and what is required by one shall be as
   binding as if required by all; performance by the Contractor shall be required to the extent consistent with the Contract
   Documents and reasonably inferable from them as being necessary to produce the indicated results.



   The parties shall agree upon protocols governing the transmission and use of Instruments of Service or any other
   information or documentation in digital form. -The parties will use AIA Dooument-E203JJ^&-l-3-,-^uilding
   Information Modeling-and Digital Data Exhibit, to establish the protocols for the develepment; use, transmissienr-and
   exchange of digital data.

   §-7.7 Building Information-Models-Use and Reliance
   Any use of, or relianee-on; all or a portion of a building information model without agreemeRt-to-protocols governing
   the use of, and relianee onfthe information contained in the model and without having those protocols set forth-in-ATA
   Beeument E203TM 2Q4-3-Buitding Information Modeling and Digital Data Exhibit, and the requisite AIA Document
   €i2Q2-^‘^ -2013, Project Building Information Modeling Protocol Formyshall be at the using or relying party’s sole risk
   and- without-liability to the other party and its eontractor-s or consultants, the authors of, or contributors to, the building
   information-model; and each oftheir agents and employees.


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  § 7.9.1 Except as otherwise provided in Section 7.9.2, where the Contract Documents require one party to notify or
  give notice to the other party, such notice shall be provided in writing to the designated representative of the party to
  whom the notice is addressed and shall be deemed to have been duly served if delivered in person, by mail, by courier,
  or by electronic transmission in accordance with AIA DooumeHt-B203T^* 2013,-Building-In-fermation Modeling-and
  Digital Data Exhibit;-if completed; or as otherwise-set forth below:bv certified or registered mail providing proof of
  delivery or by electronic transmission

   (If other than in accordance with-A-IA-Document E203- 2013, insert requirements for-delivering Notice in electronic
  format such as name, title and-email address of the recipient and whether and how the system will be required to
  generate a read receipt-for the transmission.)

  §-7-;9;2 Notice of Claimsshall be provided in writing and-shall be deemed to have been duly served only if delivered to
  the designated representative of the party to whom the notice is addressed by-certified or registered mail, or by courier
  providing proof of deliveiy.-




 § 8.1.2 The Owner shall furnish all necessary surveys and a legal description of the sitersite upon request of the
 Contractor,
 PAGE 10


 The Contractor has not included all of the costs and work scope to achieve Final Completion, The Owner intends to
 engage other contractors and/or subcontractors to perform specific activities that are necessary to achieve Final
 Completion including Painting, Millwork Supply and Installation, famishing and installation of finished exterior
 decking, supply and installation of Site Amenities and Landscaping after Contractor’s Substantial Completion. To the
 extent that Owner’s completion of the Work will delay Final Acceptance of the entirety of the Work; Contractor’s
 Final Payment shall not be withheld or delayed.

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   § 9,3.1 Unless otherwise provided in the Contract Documents, the Contractor shall provide and pay for labor,
   materials, equipment, tools, construction equipment and machinery, water, heat, utilities, transportation, and other
   facilities and services necessary for proper execution and completion of the Work whether temporary or permanent
   and whether or not incorporated or to be incorporated in the Work.
   PAGE 11

   § 9.3.3 The Contractor may make a substitution only with the consent of the Owner, after evaluation by the-Architect
   and-in accordance with a Modification.



   The Contractor warrants to the Owner and Architect that materials and equipment furnished under the Contract will be
   of good quality and new unless the Contract Documents require or permit otherwise. The Contractor further warrants
  that the Work will conform to the requirements of the Contract Documents and will be free from defects, except for
  those inherent in the quality of the Work the Contract Documents require or permit, permit for a period of one year
  from the Date of Substantial Completion. Work, materials, or equipment not conforming to these requirements may be
  considered defective. The Contractor’s warranty excludes remedy for damage or defect caused by abuse, alterations to
  the Work not executed by the Contractor, improper or insufficient maintenance, improper operation or normal wear
  and tear under normal usage. All other warranties required by the Contract Documents shall be issued in the name of
  the Owner, or shall be transferable to the Owner, and shall commence in accordance with Section 15.6.3.



  § 9.6.1 Unless otherwise provided in the Contract Documents, the Contractor Owner shall secure and pay for the
  building permit as well as other permits, fees, licenses, and inspections by government agencies necessary for proper
  execution and completion ofthe Work that are customarily secured after execution of the Contract and legally required
  at the time bids are received or negotiations concluded. Contractor and subcontractors will secure and pay for all trade
  specific permits required by local jurisdiction.



  § 9.8.1 The Contractor, promptly after being awarded the Contract, shall submit for the Owner’s and Architect’s
  information a Contractor’s construction schedule for the Work. The schedule shall not exceed time limits current
  under the Contract Documents, shalTbe revised at appropriate intervals updated with current progress at a minimum,
  monthly or more frequently as required by the conditions of the Work and Project, shall be related to the entire Project
  to the extent required by the Contract Documents, and shall provide for expeditious and practicable execution of the
  Work.

             1.               The following schedule dates have been established as interim contract performance milestones:
                   1.1.   Owner’s Notice to Proceed____________________________ 10/23/2020
                   1.2,   Foundations Complete________________________________ 12/21/2020
                   1.3.   Structural Steel Complete_____________________________ 02/11/2021
                   1.4.   Concrete Slabs Complete                                      03/04/2021
                   1.5.   Building Weathertight and Conditioned                        04/19/2021
                   1.6.   Substantial Completion_______________________________ 05/21/2021

 § 9.8.2 The Contractor shall perform the Work in general accordance with the most recent schedule submitted to the
 Owner and Architect, at time of Notice to Proceed and as ad justed thereafter by contract progress and / or
 modification.
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   § 9.9. 1 The Contractor shall review for compliance with the Contract Documents and submit to the Architect Shop
   Drawings, Product Data, Samples, and similar submittals required by the Contract Documents in coordination with the
   Contractor’s construction schedule and in such sequence as to allow the Architect reasonable time for review.
   Architect shall review and take action on Contractor’s submittals within two (2) calendar weeks of receipt unless
   otherwise agreed and in the event that resubmittal is requested, take action within one (1) calendar week on any
   resubmittals. By submitting Shop Drawings, Product Data, Samples, and similar submittals, the Contractor represents
   to the Owner and Architect that the Contractor has (1) reviewed and approved them: evaluated them for general
   conformance with the Contract Documents: (2) determined and verified materials, field measurements, and field
   construction criteria related thereto, or will do so; and (3) checked and coordinated the information contained within
   such submittals with the requirements of the Work and of the Contract Documents. The Work shall be in accordance
   with approved submittals.



   § 9.9. 3 The Contractor shall not be required to provide professional services that constitute the practice of architecture
  or engineering unless such services are specifically required by the Contract Documents or unless the Contractor
  needs to provide such services in order to carry out the Contractor’s own responsibilities. If professional design
  services or certifications by a design professional are specifically re&ulred.-required by the Contract Documents, the
  Owner and the Architect will specify the performance and design criteria that such services must satisfy. The
  Contractor shall cause such services or certifications to be provided by an appropriately licensed design professional.
  If no criteria are specified, the design shall comply with applicable codes and ordinances. Each Party shall be entitled
  to rely upon the information provided by the other Party. The Architect will review and approve or take other
  appropriate action on submittals for the limited purpose of checking for conformance with information provided and
  the design concept expressed in the Contract Documents. The Architect’s review of Shop Drawings, Product Data,
  Samples, and similar submittals shall be for the limited purpose of checking for conformance with information given
  and the design concept expressed in the Contract Documents. In performing such review, the Architect will approve,
  or take other appropriate action upon, the Contractor’s Shop Drawings, Product Data, Samples, and similar submittals.
  PAGE 13

  § 10.1 The Architect Owner will provide administration of the Contract as described in the Contract Documents and
  ■will be an-Owner’s representative during construction, until the date the Architect-issues the final Certificate for
  Payment. The Architect-will-have authority to act-on-behalf of the Owner only to-the extent-provided in the Contract
  Documentsr-unless otherwise -modified in writing in accer-dance with other provisions of the Contract.

  §--10.2-DutieS7-responsibilities, -and limitations of authority-of-the-Arehitect as set-forth in the Contract Documents
  shall- not be restricted, modified; or extended without-written-consent ofthe-Owner, Contractor, and Architect. Consent
  shalknot-be unreasonably-withheld.

  § 10.3 The Owner and/or Architect will visit the site at intervals appropriate to the stage of the construction to become
 generally familiar with the progress and quality of the portion of the Work completed, and to determine in general, if
 the Work observed is being performed in a manner indicating that the Work, when fully completed, will be in
 accordance with the Contract Documents. However, the Owner and/or Architect will not be required to make
 exhaustive or continuous on-site inspections to check the quality or quantity of the Work. The Owner and/or Architect
 will not have control over, charge of, or responsibility for the construction means, methods, techniques, sequences, or
 procedures, or for safety precautions and programs in connection with the Work, since these are solely the
 Contractor’s rights and responsibilities under the Contract Documents.

 § 10.4 On the basis of the site visits, the Architect will keep the Owner reasonably informed about the progress and
 quality of the portion ofthe Work completed, and promptly report to the Owner and Contractor fl) known deviations
 Ifom the Contract Documents, (2) known deviations from the most recent construction schedule submitted by the
 Contractor, and (3) defects and deficiencies observed in the Work. The Architect will not be responsible for the
 Contractor’s failure to perform the Work in accordance with the requirements of the Contract Documents. The
 Architect will not have control over or charge of and will not be responsible for acts or omissions of the Contractor,
 Subcontractors, or their agents or employees, or any other persons or entities performing portions of the Work.




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    § 10.5 Based on the Arehiteot-’s Owner’s evaluations of the Work and of the Contractor’s Applications for Payment,
    the Architect Owner will review and certify the amounts due the Contractor and will issue Certificates for Payment in
    such amounts.

   § 10.6 The Architect has-and Owner have the authority to reject Work that does not conform to the Contract
   Documents and to require inspection or testing of the Work.



   § 10.8 The Arohitect-wili interpret and decide matters concerning performanee-under; -and-requirements of, the
   Centr-aet-Documents-en-written request of either the Owner erContractor. The Architect will make initial decisions-on
   all claims, disputes,- and ether matters in question-between the Owner and Contractor but will not be liable for results
   of any interpretations or-decisions rendered in good faith.

   § 10.9 The Owner and Architect’s decisions on matters relating to aesthetic effect will be final if consistent with the
   intent expressed in the Contract Documents.
   PAGE 14

   § 11.2 Unless otherwise stated in the Contract Documents, the Contractor, as soon as practicable after award of the
  Contract, shall notify the Owner and Architect of the Subcontractors or suppliers proposed for each of the principal
  portions of the Work. The Contractor shall not contract with any Subcontractor or supplier to whom the Owner er
  Architect has made reasonable written objection within ten-Five days after receipt of the Contractor’s list of
  Subcontractors and suppliers. If the proposed but rejected Subcontractor was reasonably capable of performing the
  Work, the Contract Sum and Contract Time shall be increased or decreased by the difference, if any, occasioned by
  such change, and an appropriate Change Order shall be issued before commencement of the substitute Subcontractor’s
  Work. The Contractor shall not be required to contract with anyone to whom the Contractor has made reasonable
  objection.



  § 12.1 The term "Separate Contractor(s)" shall mean other contractors retained by the Owner under separate
  agreements. The Owner reserves the right intends to perform construction or operations related to the Project with the
  Owner’s own forces, and with Separate Contractors retained under Conditions of the Contract substantially similar to
  those of this Contract, including those provisions of the Conditions of the Contract related to insurance and waiver of
  subrogation.



  § 13.1 By appropriate Modification, changes in the Work may be accomplished after execution of the Contract. The
 Owner, without invalidating the Contract, may order changes in the Work within the general scope of the Contract
 consisting of additions, deletions, or other revisions, with the Contract Sum and Contract Time being adjusted
 accordingly. Such changes in the Work shall be authorized by written Change Order signed by the Owner, Contractor,
 and-Architect, or by written-Construetion Change Directive -signed by the Owner and-Architect. Owner and
 Contractor, or by written Change Order Requests, produced by the Contractor and signed by the Owner, stating the
 specific basis of payment to Contractor for the Change Order Request (lump sum price, unit price, time and material).
 Upon issuance of the Change Order or Construction Change Directive. Change Order Request, the Contractor shall
 proceed promptly with such changes in the Work, unless otherwise provided in the Change Order or Construction
 Change Direotive.Change Order Request. Approved Change Order Requests will be converted to Change Orders on a
 monthly basis allowing Contractor to include of all completed work relating to approved Change Order Requests and
 Change Orders into the monthly Application for Payment,

 § 13.2 Adjustments in the Contract Sum and Contract Time resulting from a change in the Work shall be determined
 by mutual agreement of the parties or, in the case of a Construction Change Directive signed only by the Owner and
 Arehiteety-^by the Contractor’s cost of labor, material, equipment, and reasonable overhead and profit, unless the
 parties agree on another method for determining the cost or credit. Pending final determination of the total cost of a
 Construction Change Directive, the Contractor may request partial payment for Work completed pursuant to the
 Construction Change Directive. The Architect Owner will make an interim determination of the amount of payment
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    due for purposes of certifying the Contractor’s monthly Application for Payment. When the Owner and Contractor
    agree on adjustments to the Contract Sum and Contract Time arising from a Construction Change Directive, the
    Architect with prepare a Change Order. Contractor will prepare a Change Order for Owner Review and Approval-
    Such approval shall not be unreasonably withheld,

    § 13.3 The Architect Owner will have authority to order minor changes in the Work not involving adjustment in the
   Contract Sum or extension of the Contract Time and not inconsistent with the intent of the Contract Documents. Such
   changes shall be effected by written order and shall be binding on the Owner and Contractor. The Contractor shall
   carry out such written orders promptly. If the Contractor believes that the proposed minor change in the Work will
   affect the Contract Sum or Contract Time, the Contractor shall notify the Architect Owner and shall not proceed to
   implement the change in the Work.

   § 13.4 If concealed or unknown physical conditions are encountered at the site that differ materially from those
   indicated in the Contract Documents or from those conditions ordinarily found to exist, the Contract Sum and Contract
   Time shall be equitably adjusted as mutually agreed between the Owner and Contractor; provided that the Contractor
   provides notice to the Owner and Architect promptly and before conditions are disturbed.
   PAGE 15

   § 14.4 The date of Substantial Completion is the date certified by the Architect Owner in accordance with Section
   15.6.3.

   § 14.5 If the Contractor is delayed at any time in the commencement or progress of the Work by (1) changes ordered in
  the Work; (2) by labor disputes, fire, unusual delay in deliveries, abnormal adverse weather conditions not reasonably
  anticipatable, unavoidable casualties, or any causes beyond the Contractor’s control; or (3) by other causes that the
  Contractor asserts, and the Architect Owner determines, justify delay, then the Contract Time shall be extended for
  such reasonable time as the Architect may Owner and Contractor may mutually determine, subject to the provisions
  of Article 21.



  § 15.1. 1 Where-the Contract is based on-a Stipulated Sum or the Cost of the Work with a Guaranteed Maximum Price
  pursuant to Section 3.2 or3.d. the The Contractor shall submit a schedule of values to the Architect Owner before the •
  first Application for Payment, allocating tire entire Stipulated Sum or Guaranteed Maximum Price the current Cost of
  the Work to the various portions of the Work. The schedule of values shall be prepared in the femh-form and
  supported by the data to substantiate its accuracy required by the Architect. Owner. This schedule of values shall be
  used as a basis for reviewing the Contractor’s Applications for Payment.

  § 15.1. 2 The allocation of the Stipulated Sum or Guaranteed Maximum Price Cost of the Work under this Section 15.1
  shall not constitute a separate stipulated sum or guaranteed maximum price for each individual line item in the
  schedule of values.

 § 15.2 Control- Estimate
 §-45^.1 Where the Contract Sum is the-Gost of the Work, plus the Contractor’s Fee without-a-Gaaranteed Maximum
 Price pursuant to Section 3.3, the Contractor shall-prepare and submit to the Owner a Control Estimate-within 14 days
 of executing this Agreement. The Control-Estimate shall include the estimated Cost of the Work plus the Contractor’s
 Fecj

 § 15i2;2 The-Control Estimate shall include:
          i4----- the-documents enumerated in Article 6, including-all-Modifications thereto;
            ----- a list of the assumptions made by the Contractor in the-preparatien-of-the Control Estimate to
                  supplement the information provided-by the Owner and contained in the Contract Documents;
          tS-- a-statement-ef the estimated-Cost of the Work organized by trade categories or systems and the
                  Contractor’s Fee;
          =4----- a project schedule upon which the Control Estimate is based, indicating- proposed-Subeontractors,
                  activity sequences and durations^ milestone dates for-reeeipt and-approval-ofpertinent information,
                  schedule of-shop-drawings and samples-,-proeurement-aHd-delivery of materials or equipment the
                  Owner’s occupancy requirements, and the date of Substantial Completion; and
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                  ----- a-Hst of any-seHtingency amounts included in the Control fetimate for-further-development of design
                       aHd-eeastetetienr

    § 15.2.3 When the Control Estimate is aeeeptable to the Owner and Arehiteet, the Owner shall acknowledge it in
    writing. The Owner-s aseeptaHeeofthe Control Estimate .dees-not imply that the-Control Estimate-constitutes a
    Guaranteed Maximum Price.

   § 15.2.4 The Contractor shall develop and implement a detailed system of cost control that will provide the Owner and
   A-fchitect with timely information as to the anticipated total Cost of the Work. The cost control system shall compare
   the Control Estimate Guaranteed Maximum Price cost breakdown (Exhibit "A") with the actual cost for activities in
   progress and estimates for uncompleted tasks and proposed changes. This information shall be reported to the Owner,
   in writing, no later than the Contractor’s first Application for Payment and shall be revised and submitted with each
   Application for Payment.
   PAGE 16

   § 15.3.1 At least ten-days before the date-established for each progress-navment. On the first business day of each
   month, the Contractor shall submit to the -Architect Owner an itemized Application for Payment prepared in
   accordance with the schedule of values, if required under Section 15.1, for completed portions of the Work. The
   application shall be notarized, if required; be supported by all data substantiating the Contractor’s right to payment
   that the Owner or Architect require; shall reflect retainage if provided for in the Contract Documents; and include any
   revised cost control information required by Section 15.2.4. Applications for Payment shall not include requests for
   payment for portions of the Work for which the Contractor does not intend to pay a Subcontractor or supplier, unless
   such Work has been performed by others whom the Contractor intends to pay.

  § 15.3.2 With each Application for Payment where the Contract Sum is based upon the Cost of the Work, or the Cost of
  the Work with a Guaranteed Maximum Price, the Contractor shall submit payrolls, jetty cash accounts, receipted
  invoices or invoices with check vouchers attached, and any other evidence required by the Owner to demonstrate that
  cash disbursements already made by the Contractor on account of the Cost of the Work equal or exceed progress
  payments already received by the Contractor plus payrolls for the period covered by the present Application for
  Payment, less that portion of the progress payments attributable to the Contractor’s Fee.



  § 15.4.1 The Arehiteet-Owner will, within seven days after receipt of the Contractor’s Application for Payment, either
  issue to the Owner a Certificate for Payment, with a copy to the Contractor, for such amount as the Architect
  determines is properly due, or notify the Contractor and Owner of the Architect’s reasons for withholding certification
  in whole or in part as provided in Section 15.4.3.

  § 15.4.2 The issuance ofa Certificate for Payment will constitute a representation by the Architect to the Owner, .
  based on the Architect’s Owner’s evaluations of the Work and the data in the Application for Payment, that, to the
  best of the Architect’s Owner’s knowledge, information, and belief, the Work has progressed to the point indicated,
 the quality of the Work is in accordance with the Contract Documents, and the Contractor is entitled to payment in the
 amount certified. The foregoing representations are subject to an evaluation of the Work for conformance with the
 Contract Documents upon Substantial Completion, to results of subsequent tests and inspections, to correction of
 minor deviations from the Contract Documents prior to completion and to specific qualifications expressed by the
 Architect. Owner. However, the issuance of a Certificate for Payment will not be a representation that the -Ar-ehitect
 Owner has (1) made exhaustive or continuous on-site inspections to check the quality or quantity of the Work; (2)
 reviewed construction means, methods, techniques, sequences, or procedures; (3) reviewed copies of requisitions
 received from Subcontractors and suppliers and other data requested by the Owner to substantiate the Contractor’s
 right to payment; or (4) made examination to ascertain how or for what purpose the Contractor has used money
 previously paid on account of the Contract Sum.

 § 15.4.3 The Architect Owner may withhold a Certificate for Payment in whole or in part, to the extent reasonably
 necessary to protect the Owner, if in the -Architect-’s Owner’s opinion the representations to the Owner required by
 Section 15.4.2 cannot be made. If the Architect Owner is unable to certify payment in the amount of the Application,
 the -Architect Owner will notify the Contractor and-Owner-as provided in Section 15.4.1. If the Contractor and the
 Architect Owner cannot agree on a revised amount, the Architect Owner will promptly issue a Certificate for Payment
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    for the amount for which the Architect Owner is able to make such representations to the Owner. The Ar-ehtteet-. The
    Owner may also withhold a Certificate for Payment or, because of subsequently discovered evidence, may nullify the
    whole or a part of a Certificate for Payment previously issued, to such extent as may be necessary in the Afehitect’s
    Owner’s opinion to protect the Owner from loss for which the Contractor is responsible, including loss resulting from
    acts and omissions described in Section 9.2.2, because of
    PAGE 17

    § 15.4.4 When either party the Contractor disputes the Architect’s Owner’s decision regarding a Certificate for
    Payment under Section 15.4.3, in whole or in part, that party may submit a Claim in accordance with Article 21.



    § 15.5.3 A Certificate for Payment, a progress payment, or partial or entire use or occupancy of the Project by the
    Owner shall not constitute acceptance of Work not in accordance with the Contract Documents.
    PAGE 18

   § 15.6.1 Substantial Completion is the stage in the progress of the Work when the Work or designated portion thereof
   is sufficiently complete in accordance with the Contract Documents so that the Owner can eeeupy or utilize the Work
   for its intended use-.complete the final finishes, millwork, flooring and landscaping necessary to obtain Final
   Completion.

   § 15.6.2 When the Contractor considers that the Work, or a portion thereof which the Owner agrees to accept
   separately, is substantially complete, the Contractor shall prepare and submit to the Arehiteet Owner a comprehensive
   list of items to be completed or corrected prior to final payment. Failure to include an item on such list does not alter
   the responsibility of the Contractor to complete all Work in accordance with the Contract Documents.

   § 15.6.3 Upon receipt of the Contractor’s list, the Architect Owner will make an inspection to determine whether the
  Work or designated portion thereof is substantially complete. When the A-rehiteefOwner determines that the Work or
  designated portion thereof is substantially complete, the Architect Owner will issue a Certificate of Substantial
  Completion which shall establish the date of Substantial Completion; establish responsibilities of the Owner and
  Contractor for security, maintenance, heat, utilities, damage to the Work and insurance; and fix the time within which
  the Contractor shall finish all items on the list accompanying the Certificate. Warranties required by the Contract
  Documents shall commence on the date of Substantial Completion of the Work or designated portion thereof unless
  otherwise provided in the Certificate of Substantial Completion.



  § 15.7.1 Upon receipt of the Contractor’s notice that the Work is ready for final inspection and acceptance and upon
  receipt of a final Application for Payment, the Architect Owner will promptly make such inspection and, when the
 Architect Owner finds the Work acceptable under the Contract Documents and the Contract fully performed, the
 Architect wiil-promptlyTsaue-a final Certificate for Payment stating that to the best of the Architect’s knowledge,
 ■information and belief, and-on the basis of the Architect’s on site visits-and inspections, the Work has been completed
 in accordance with the Contract Documents and that the entire balance found to be due the Contractor and noted in the
 final Certificate is due and payable—The Architect’s final Certificate for Payment is due and payable. The Owner’s
 acceptance of the Work will constitute a further representation that conditions stated in Section 15.7.2 as precedent to
 the Contractor’s being entitled to final payment have been fulfilled.



 § 15.7.5 Final payment shall not become due until the contractor has completed all punchlist items and submitted
 close-out/warranty documents to the satisfaction of the Owner and/or Architect, Said punchlist work/closeout
 documents shall be completed by the Contractor in a manner that is acceptable to the Owner and/or Architect within
 twenty-one (21) calendar days of final inspection by local authorities. If contractor fails to meet this requirement.
 Owner reserves the right to complete the work. The amount due to Contractor will be reduced by the cost the Owner
 incurs to complete the work, plus twenty percent (20%).

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    § 16.2.1 The Contractor is responsible for compliance with the requirements of the Contract Documents regarding
    hazardous materials or substances. If the Contractor encounters a hazardous material or substance not addressed in the
    Contract Documents, and if reasonable precautions will be inadequate to prevent foreseeable bodily injury or death to
    persons resulting from a material or substance, including but not limited to asbestos or polychlorinated biphenyl
    (PCB), encountered on the site by the Contractor, the Contractor shall, upon recognizing the condition, immediately
    stop Work in the affected area and notify the Owner and-Architeot of the condition. When the material or substance
    has been rendered harmless. Work in the affected area shall resume upon written agreement of the Owner and
    Contractor. By Change Order, the Contract Time shall be extended appropriately and the Contract Sum shall be
    increased in the amount of the Contractor’s reasonable additional costs of shutdown, delay, and start-up.



   ARTICLE 17—INSURANCE AND BONDS
   ARTICLE 17 INSURANCE
   PAGE 20

   § 17.1,2 Commercial General Liability insurance for the Project written on an occurrence form with policy limits of not less
   thanks—)-each occurrence, ($—)^Beral aggregate, and—1$—One Million Dollars ($1.000,000,00 ) each
   occurrence. Two Million Dollars ($ 2.000,000.00 ) general aggregate, and Two Million Dollars ($ 2,000.000.00 )
   aggregate for products-completed operations hazard, providing coverage for claims including



   § 17.1.3 Automobile Liability covering vehicles owned by the Contractor and non-owned vehicles used by the
   Contractor, with policy limits of not less than One Million Dollars ($ 1.000.000,00 ) per accident, for bodily injury,
   death of any person, and property damage arising out of the ownership, maintenance, and use of those motor vehicles
   along with any other statutorily required automobile coverage.



  § 17.1.6 Employers’ Liability with policy limits not less than One Million Dollars ($ 1.000.000.001 each accident.
  One Million Dollars ($ 1.000,000.00 ) each employee, and One Million Dollars ($ 1.000,000.00 ) policy limit.



  §-47;1.7 If the Contractor is required-to furnish professioHal-serviees-asijart of the Work, the Contractor shall procure
  Professional Liability insurance-covering perfonnance of the professional services^ with policy limits of not less than
  (-$ ) per claim and ($—)-in the aggregate.

  §-17.1.8 If the Work involves the transport, dissemination, use, or release of pollutants, the Gontraetor-shall procure
  Pollution Liability insurance^ with-polioy limits-of not less than—($—) per claim and—($—) in the aggregate.

 §-17.1.9 Coverage under Sections 17.1.7 and 17.1.8 may be procured through a-Combined Professional Liability and
 PoHutien-Liabili^ insurance policy, with combined policy limits of not less than—($—) per claim and—($—) in the
 aggregate;



 § 17.1.11 The Contractor shall disclose to the Owner-any deductible or-self- insured retentions applicable to any
 insuranee required to be provided by the Contractor.

 § 17i1i12 To-the fullest extent-permitted by law, the-Contfactor shall cause the commercial liability coverage required
 by-this Section 17.1 to include (l-) the OwnerHbe Architect, and the Architect’s Consultants as additional insureds for
 claims caused in whole or in part by the Contractor’s negligent acts or omissions during the Contractor’s operations;
 and (2> the Owner as an additional insured for claims caused in whole or in part by the Contractor’s negligent-acts or
 omissions ^r-whioh loss occurs-during completed operations. The additional insured coverage shall be primary and
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    aen-contnbutoiy to any of the Owner’s -geHeral liability-insurance policies and shall apply-te-beth ongoing and
    seiapleted-operations. To the extent oommercially-avaijable, the additional insured coverage shall be no less than that
    provided by Insurance Services Office;- Inc. (ISO) forms CG 20 10 07 01, CG 20 37 07 04, and, with-respect to the
    -Architect and the Architect-’-s Gonsultanfej^GG 20 32 07 04.



                Coverage                                                 Limits



    S-47-.1.14 Other Insurance Provided-by the Contractor
   ^st- bolow-any other insurance covaraga to ba provided by the Contractor and any applicable limits.)

               Coverage                                                  Limits



   PAGE 22


                Builder’s Risk

   § 17.3 Performance Bond and Payment- Bond
   § 17;3.1 The Owner-shall have the right to require the Contractor to furnish bonds covering faithful performance of the
   Oentract and payment of obligations arising thereunder as stipulated in the Contract Documents-en the date of
   execution of the Contract.

  § 17;3.2 Upon the request of any person-orenti^appearing to be a potential beneficiary of bonds covering payment of
  obligations arising under-the Contract, the Contractor shall promptly furnish a copy of the bonds or shall authorizes
  copy-to be-fumished.


  § 18.1  The Contractor shall promptly correct Work rejected by the Architect Owner or failing to conform to the
  requirements of the Contract Documents, whether discovered before or after Substantial Completion and whether or not
  fabricated, installed, or completed. Costs of correcting such rejected Work, including additional testing and inspections, the
  cost of uncovering and replacement, and compensation for the Architect’s services and expenses made necessary thereby,
  shall be at the Contractor’s expense, unless compensable under Section A. 1.7.3 in Exhibit A, Determination of the Cost of
  the Work.
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  Neither party to the Contract shall assign the Contract without written consent of the other, except that the Owner may,
  without consent of the Contractor, assign the Contract to a lender providing construction financing for the Project if
  the lender assumes the Owner’s rights and obligations under the Contract Documents. The Contractor shall execute all
  consents reasonably required to facilitate such assignment. The Contractor agrees to allow the Owner to assign the
  Contract if requested by the Owner’s Lender for the Project, and to allow any other assignment as reasonably
  requested by the Owner.




 Tests, inspections, and approvals of portions of the Work required by the Contract Documents or by applicable laws,
 statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities shall be made at an appropriate
 time. Unless otherwise provided, the Contractor shall make arrangements for such tests, inspections, and approvals
 with QH-Owner’s independent testing laboratory or entity acceptable to the Owner, or with the appropriate public
 authority, and authority. Owner shall bear all related costs of tests, inspections, and approvals. The Contractor shall
 give the Architect Owner timely notice of when and where tests and inspections are to be made so that the Architect
 Owner or Owner’s independent testing agency or local code officials may be present for such procedures. The Owner
 shall bear costs of tests, inspections, or approvals that do not become requirements until after bids are received or
 negotiations concluded. The Owner shall directly arrange and pay for tests, inspections, or approvals where building
 codes or applicable laws or regulations so require.

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   PAGE 24

   If the Architect Owner fails to certify payment as provided in Section 15.4.1 for a period of 30 days through no fault
   of the Contractor, or if the Owner fails to make payment as provided in Section 4.1.3 for a period of 30 days, the
   Contractor may, upon seven additional days’ notice to the Owner and the Architect, ,_terminate the Contract and
   recover from the Owner payment for Work executed, including reasonable overhead and profit, costs incurred by
   reason of such termination, and damages.



  § 20.2.2 When any of the reasons described in Section 20.2.1 exists, the Owner, upon certification by the Architect
  that sufficient cause exists to justify such action, may, without prejudice to any other remedy the Owner may have and
  after giving the Contractor seven days’ notice, terminate the Contract and take possession of the site and of all
  materials, equipment, tools, and construction equipment and machinery thereon owned by the Contractor and may
  finish the Work by whatever reasonable method the Owner may deem expedient. Upon request of the Contractor, the
  Owner shall furnish to the Contractor a detailed accounting of the costs incurred by the Owner in finishing the Work.



  The Owner may, at any time, terminate the Contract for the Owner’s convenience and without cause. The Owner shall
  pay the Contractor for Work executed; and costs incurred by reason of such termination, including costs attributable to
  termination of Subcontracts; and a termination fee^fee. if any, as follows:



 Contractor is entitled to receive the Fee established in the initial Cost of the Work as shown in the intital Schedule of
 Values at the start of the Work without reduction, any Fee established in approved Change Order Requests or Change
 Orders will be due the Contractor up to the amount of completed work prior to the Termination for Convenience.



 § 21.1 Claims, disputes, and other matters in question arising out of or relating to this Contract, including those
 alleging an error or omission by the Architect but excluding those arising under Section 16.2, shall be referred initially
 to the Architect Owner for decision. Such matters, except those waived as provided for in Section 21.11 and Sections
 15.7.3 and 15.7.4, shall, after initial decision by the AFchitect Owner or 30 days after submission of the matter to the
 Architect; Owner, be subject to mediation as a condition precedent to binding dispute resolution.



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    § 21.2.1 Claims by either the Owner or Contractor, where the condition giving rise to the Claim is first discovered
    prior to expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the
    Architect Owner within 21 days after occurrence of the event giving rise to such Claim or within 21 days after the
    claimant first recognizes the condition giving rise to the Claim, whichever is later.




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    final document I made no changes to the original text of AI A® Document A104™ - 2017, Standard Abbreviated Form
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    (Signed)




   (Title)




   (Dated)




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